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   Exhibit A
                          Case 17-03140 Document 1-1 Filed in TXSB on 03/03/17 Page 2 of 77
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                                                            TEXAS ASSOCIATION OF REALTORS®
               RESIDENTIAL LEASING AND PROPERTY MANAGEMENT AGREEMENT
                                 USE OF THIS FORM BY PERSONS WHO ARE NOT MEMBERS OF THE TEXAS ASSOCIATION Of REAL TORSO IS NOT AUTHORIZED.
                                                                  CTewas Association ol REALTORS8,1nc. 2014


    1.     PARTIES:

           A. The parties to this agreement are:

                 Owner: 'APR!' SP1-1 .LLC

                 Address: ~------------------------------------------------------------
                 City, State, Zip: -------------------------:-:--:-~--------
                 Hm. Phone:                         Wk. Ph: - - - - - - - - - - Mobile: - - - - - - - -
                 Fax:                             E-Mail: ______________ _______________           ___
                 Additional Phones or Contact Information:__________ __________ __



                 Broker: B1avesce., LTD
                 Address: 25511 Budde Road Ste 11801
                 City, State, Zip: The Woodlands. TX 77380
                 Phone: (832) 850-4849                                                                                      Fax: (832 ) 381-3768
                 E-Mail: he a ther@ b1avesco . com

           B. If Owner is not an individual, Owner is a: 0 estate 0 corporation I]] limited liability company (LLC)
              0 trust 0 partnership 0 limited liability partnership (LLP) 0 other                            , which was
              chartered or created in                           (State). The individual signing this agreement for the
              owner represents to Broker that he or she has the authority to bind Owner to this agreement, to act for
              Owner, and is acting under his capacity as                                          (title) for the Owner.
           C. Owner appoints Broker as Owner's sole and exclusive leasing and managing agent of the real
              property described in Paragraph 2 and in any addendum to this agreement.

   2.      PROPERTY: "Property" means:

          Address (include unit nos.) 6001 Reims Road , Houston . TX 77036               _
                                              f 903l 304f 3071302l l102#209l 301l ll0ll 204l 508
          legally described as: Silverfield Condo PBl & PB2

          in               Barris                                                       County, Texas, together with the following non-real-property
          items: Washer , D.:ye_r , Dishwasher

          "Property" also includes any other Property described in any attached Multiple Property Addendum.

   3.     TERM:

          A. Primarv Term: The primary term of this agreement begins and ends as follows:

                Commencement Date: --~J~un
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                                                     ~0   ::..;4:....___ Expiration Date: _ _....::J:..::
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          B. Automatic Extension: Unless either party provides written notice of termination to the other party at
             least 30 days before the Expiration Date, this agreement will automatically extend on a monthly basis
             until either party terminates by providing at least 30 days written notice to the other party.

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         C. Effective Services: If Broker determines that Broker cannot continue to effectively provide leasing and
            management services to Owner for any reason at any time during this agreement Broker may
            terminate this agreement by providing at least 30 days written notice to Owner.

         D. Fees Upon Termination: At the time this agreement ends, Owner must pay Broker amounts specified
            in Paragraph 12.

    4.   AUTHORITY OF BROKER:

         A. Leasing and Management Authority: Owner grants to Broker the following authority which Broker may
            exercise when and to the extent Broker determines to be in Owner's interest:
            ( 1) advertise the Property for lease at Owner's expense by means and methods that Broker
                  determines are reasonably competitive, including but not limited to creating and placing
                  advertisements with interior and exterior photographic and audio-visual images of the Property
                  and related information in any media and the Internet;
            (2) place "For Lease" signs or other signs on the Property in accordance with applicable laws,
                  regulations, ordinances, restrictions, and owners' association rules;
            (3) remove all other signs offering the Property for sale or lease;
            (4) submit the Property as a listing with one or more Multiple Listing Services (MLS) at any time the
                  Property is marketed for lease and to change or terminate such listings;
            (5) authorize other brokers, their associates, inspectors, appraisers, and contractors to access the
                  Property at reasonable times for purposes contemplated by this agreement and to lend keys and
                  disclose security codes to such persons to enter the Property;
            (6) duplicate keys and access devices, at Owner's expense, to facilitate convenient and efficient
                  showings of the Property and to lease the Property;
            (7) place a keybox on the Property;
            (8) employ scheduling companies to schedule showings by other brokers at any time the Property is
                  marketed for lease;
            (9) verify information and references in rental applications from prospective tenants;
            (1 0) negotiate and execute leases on Owner's behalf for the Property at market rates and on
                  competitively reasonable terms for initial terms of not less than     12     months and not more
                  than     36      months and in accordance with any instructions in Paragraph 20;
            (11) negotiate and execute any amendments, extensions, or renewals to any leases for the Property
                  on Owner's behalf;
            (12) terminate leases for the Property, negotiate lease terminations, and serve notices of termination;
            (13) collect and deposit for Owner rents, security deposits, and other funds related to the Property in a
                  trust account and pay from that account: (a) any compensation and reimbursements due Broker
                  under this agreement; and (b) other persons as this agreement may authorize.
            (14) account for security deposits that Broker holds in trust to any tenants in the Property in
                  accordance with applicable law, this agreement, and any lease of the Property and make
                  deductions from the deposits in accordance with the lease and applicable law;
            (15) collect administrative charges including but not limited to, application fees, returned check fees,
                  and late charges from tenants in the Property or from prospective tenants;
            (16) institute and prosecute, at Owner's expense, actions to: (a) evict tenants in the Property; (b)
                  recover possession of the Property; or (c) recover lost rent and other damages;
            (17) settle, compromise, or withdraw any action described in Paragraph 4A(16);
            (18) negotiate and make reasonable concessions to tenants or former tenants in the Property;
            (19) report payment histories of tenants in the Property to consumer reporting agencies;
            (20) obtain information from any holder of a note secured by a lien on the Property and any insurance
                  company insuring all or part of the Property;



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               (21) hire contractors to repair, maintain, redecorate, or alter the Property provided that Broker does
                    not expend more than $ 1 , soo -oo                         for any single repair, maintenance item,
                    redecoration, or alteration without Owner's consent;
               (22) hire contractors to make emergency repairs to the Property without regard to the expense limita-
                    tion in Paragraph 4A(21) that Broker determines are necessary to protect the Property or the
                    health or safety of an ordinary tenant;
               (23) contract, at Owner's expense, in either Broker's or Owner's name, for utilities and maintenance
                    to the Property during times that the Property is vacant, including but not limited to, electricity,
                    gas, water, alarm monitoring, cleaning, pool and spa maintenance, yard maintenance, and other
                    regularly recurring expenses that Broker determines are reasonable to maintain and care for the
                    Property; and
               (24) perform other necessary services related to the leasing and management of the Property.

         B.    Record Keeping: Broker will:
               (1) maintain accurate records related to the Property and retain such records for not less than 4
                   years;
               (2) file reports with the Internal Revenue Service related to funds received on behalf of Owner under
                   this agreement (for example, Form 1099); and
               (3) remit, each month, the following items to Owner: (a) funds collected by Broker for Owner under
                   this agreement, less authorized deductions; and (b) a statement of receipts, disbursements, and
                   charges. Owner may instruct Broker in writing to remit the items to another person or address.

         C. Security Deposits:
            (1) During this agreement, Broker will maintain security deposits received from tenants in a trust
                account and will account to the tenants for the security deposits in accordance with the leases for
                the Property.
            (2) Except as stated in Paragraph 4(1), after this agreement ends, Broker will deliver to Owner or the
                Owner's designee the security deposit held by Broker under an effective lease of the Property,
                less deductions authorized by this agreement, and will send written notice to the tenant that states
                all of the following:
                (a) that this agreement has ended;
                (b) the exact dollar amount of the security deposit;
                (c) the contact information for the Owner or the Owner's designee; and
                (d) that Owner is responsible for accounting for and returning the tenant's security deposit.
            (3) If Broker complies with this Paragraph 4C, Owner will indemnify Broker from any claim or loss
                from a tenant for the return of a security deposit. This Paragraph 4C survives termination of this
                agreement.

        D. Deductions and Offset: Broker may disburse from any funds Broker holds in a trust account for Owner:
           (1) any compensation due Broker under this agreement;
           (2) any funds Broker is authorized to expend under this agreement; and
           (3) any reimbursement Broker is entitled to receive under this agreement.

        E. Insurance and Attorneys:
           (1) Broker may not file a claim for a casualty loss with the carrier insuring the Property. Broker may
               communicate with the carrier to facilitate the processing of any claim Owner may file or other
               matters that Owner instructs Broker to communicate to the carrier.
           (2) Broker may not directly or indirectly employ or pay a lawyer to represent Owner. Broker may
               communicate with Owner's attorney in accordance with Owner's instructions.

        F. Information about Trust Accounts. MLS. and Keybox :


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              (1) Trust Accounts: A trust account must be separate from Broker's operating account and must be
                  designated as a trust, property management, or escrow account or other similar name. Broker
                  may maintain one trust account for all properties Broker leases and manages for others.
              (2) MLS: MLS rules require Broker to accurately and timely submit all information the MLS requires
                  for participation including leased data. Subscribers to the MLS may use the information for market
                  evaluation or appraisal purposes. Subscribers are other brokers and other real estate
                  professionals such as appraisers and may include the appraisal district. Any information filed with
                  the MLS becomes the property of the MLS for all purposes. Submission of information to MLS
                  ensures that persons who use and benefit from the MLS also contribute information.
              (3) Keybox: A keybox is a locked container placed on the Property that holds a key to the Property. A
                  keybox makes it more convenient for brokers, their associates, inspectors, appraisers, and
                  contractors to show, inspect, or repair the Property. The keybox is opened by a special
                  combination, key, or programmed device, so that authorized persons may enter the Property.
                  Using a keybox will probably increase the number of showings, but involves risks (for example,
                  unauthorized entry, theft, property damage, or personal injury). Neither the Association of
                  REAL TORS® nor MLS requires the use of a keybox.
         G. Performance Standard: Broker will:
            (1) use reasonable care when exercising Broker's authority and performing under this agreement; and
            (2) exercise discretion when performing under this agreement in a manner that Broker believes to be
                in Owner's interest, provided that Broker will treat any tenant honestly and fairly.
          H. Inability to Contact Owner: If Broker is unable to contact Owner for   7     days, Broker is authorized
             to contact the person below for the sole purpose of attempting to reestablish contact with Owner.
                    Name: ________J           =f
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                                                     :..:1
                                                 =--=F   :.: ::;:e
                                                            ~h        ~------- Phone: _ _ _ _ _ _ _ _ __
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                    Address: ______________ ______________ _______________
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          I. Foreclosure: If Broker receives notice of the Owner's delinquency in the payment of: (1) any mortgage
             or other encumbrance secured by the Property; (2) property taxes; (3) property insurance; or (4)
             owners' association fees, Broker may give Owner 15 days to cure the delinquency during which period
             Owner authorizes Broker to freeze any funds held by Broker and no disbursements will be made to
             Owner related to this agreement or the Property. If after the 15 day period, the delinquency is not cured
             and the foreclosure process is initiated, Owner authorizes Broker to deduct from any other funds being
             held by Broker for Owner any remaining Broker Fees or funds due to Broker related to services
             performed under this agreement. Additionally, Owner authorizes Broker to return any security deposit
             being held by Broker to a tenant of the Property in addition to any prorated amount of rent being held
             by Broker and Broker may terminate this agreement. This paragraph does not preclude the Broker from
             seeking any other remedies under this agreement or at law that may be available to the Broker.
    5.    LEGAL COMPLIANCE: The parties will comply with all obligations, duties, and responsibilities under the
          Texas Property Code, fair housing laws, and any other statute, administrative rule, ordinance, or
          restrictive covenant applicable to the use, leasing, management, or care of the Property.
    6.    RESERVES: Upon execution of this agreement, Owner will deposit the following amount with Broker to be
          held in a trust account as a reserve for Owner:$ 250. oo                     for each unit within the Property
          or Properties managed by Broker under this agreement.          Broker  may,   at Broker's discretion, use the
          reserve to pay any expense      related to the leasing and management   of the  Property(ies) (including but not
          limited to Broker's fees). If the  balance  of the reserve becomes less than   the amount stated, at any time,
          Broker may: (a) deduct an amount that will bring the balance to the amount stated from any subsequent
          rent received on behalf of Owner and deposit the amount into the reserve; or (b) notify Owner that Owner
          must promptly deposit additional funds with Broker to bring the balance to the amount stated.

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    7.   ADVANCES: Owner will, in advance, provide Broker all funds necessary for the leasing and management
         of the Property. Broker is not obligated to advance any money to Owner or to any other person.
    8.   OWNER'S REPRESENTATIONS:
         A. General:
            (1) Except as disclosed in Paragraph 20, Owner represents that:
                (a) Owner has fee simple title to and peaceable possession of the Property and all its
                     improvements and fixtures, unless rented, and the legal capacity to lease the Property;
                (b) Owner is not bound by: (i) another agreement with another broker for the sale, exchange,
                     lease, or management of the Property that is or will be in effect during this agreement; or (ii)
                     an agreement or covenant that prohibits owner from leasing the property;
                (c) no person or entity has any right to purchase, lease, or acquire the Property by an option,
                     right of refusal, or other agreement;
                (d) Owner is not delinquent in the payment of any property taxes, owners' association fees,
                     property insurance, mortgage, or any encumbrance on or affecting the Property;
                (e) the Property is not subject to the jurisdiction of any court;
                (f) the optional user fees for the use of common areas (for example, pool or tennis courts) in the
                     Property's subdivision are: pool                                                          ; and
                (g) all information related to the Property that Owner provides to Broker is true and correct to the
                     best of Owner's knowledge.
             (2) Broker may disclose to a tenant or to a prospective tenant any information related to the
                 representations made in this Paragraph 8.
         B. Property Condition: Owner and Broker are obligated under law to disclose to a tenant or to a
            prospective tenant any known condition that materially and adversely affects the health or safety of an
            ordinary tenant. Owner is obligated under the Property Code to repair any such condition for a tenant.
            Owner represents that:
            (1) any pool or spa and any required enclosures, fences, gates, and latches comply with all
                 applicable Jaws and ordinances; and
            (2) Owner is not aware of a condition concerning the Property that materially affects the health or
                 safety of an ordinary tenant, except as stated below, in this agreement, or in any addendum:




         C. Lead-Based Paint: If the Property was built before 1978, Owner will complete and attach to this
            agreement an addendum regarding lead-based paint and lead-based paint hazards that will be made
            part of any lease of the Property. If the Property was built before 1978, federal law requires the Owner
            (before a tenant is obligated under a lease) to: (1) provide the tenant with the federally approved
            pamphlet on lead poisoning prevention; (2) disclose the presence of any known lead-based paint or
            hazards in the Property; and (3) deliver all records and reports to the tenant related to such paint or
            hazards.
   9.    OWNER'S COOPERATION: Owner agrees to :
         A. cooperate with Broker to facilitate the showing, marketing, and lease of the Property;
         B. not rent or lease the Property to anyone without Broker's prior written approval;
         C. not negotiate with any prospective tenant who might contact Owner directly, but refer all prospective
            tenants to Broker;
         D. not deal with or negotiate with any tenant in the Property concerning any matter related to the
            management or leasing of the Property but refer all such dealings to Broker;
         E. not enter into a listing agreement or property management agreement with another broker for the
            rental, leasing, or management of the Property to become effective during this agreement;
         F. provide Broker with copies of any existing leases or rental agreements related to the Property;
         G. provide Broker with keys and access devices to the Property;
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          H. provide Broker with copies of all warranties related to the Property or any item in the Property;
          I. tender to Broker any security deposits paid by any existing tenants in the Property;
          J. complete any disclosures or notices required by law or a lease of the Property;
          K. amend applicable notices and disclosures if any material change occurs during this agreement; and
          L. notify Broker if Owner becomes delinquent in the payment of: (1) any mortgage or other encumbrance
             secured by the Property; (2) property taxes; (3) property insurance; or (4) owners' association fees.
    10. INSURANCE:
          A. At all times during this agreement, Owner must maintain in effect:
             (1) a public liability insurance policy that names Broker as a co-insured or additional insured and
                  covers losses related to the Property in an amount of not less than$ 1 , ooo , ooo . oo       on
                  an occurrence basis; and
             (2) an insurance policy for the Property in an amount equal to the reasonable replacement cost of the
                  Property's improvements and that contains endorsements which contemplate the leasing of the
                  Property with vacancies between lease terms.
          B. Not later than the 15th day after the Commencement Date, Owner must deliver to Broker copies of
             certificates of insurance evidencing the coverage required under Paragraph 1OA. If the coverage
             changes at any time during this agreement, Owner must deliver to Broker a copy of the insurance
             certificate evidencing the change not later than 10 days after the change.
          C. If Owner fails to comply with Paragraphs 1OA or 1OB, Broker may:
             (1) purchase insurance that will provide Broker the same coverage as the required insurance under
                  Paragraph 1OA( 1) and Owner must promptly reimburse Broker for such expense; or
             (2) exercise Broker's remedies under Paragraph 17.
    11. BROKER'S FEES: All fees to Broker under this agreement are payable in                Montg omery
        County, Texas. This Paragraph 11 survives termination or expiration of this agreement with regard to fees
        earned during this agreement which are not payable until after its termination. Broker may deduct any fees
        under this Paragraph 11 from any funds Broker holds in trust for Owner. If more than one property or unit
        is made part of and subject to this agreement. each of the provisions below will apply to each property or
        unit separately.
    I!)   A. Management Fees: Each month Owner will pay Broker the greater of $ 5%                       (minimum
              management fee) or: (Check     one box only.)
          0 (1)               % of the gross monthly rents collected that month.
          lXI (2) 5% of rent roll
              A vacancy in the Property or failure by a tenant to pay rent does not excuse payment of the minimum
              management fee. Management fees under this Paragraph 11 A are earned daily and are payable not
              later than the last day of each month.
    1!1 B. Leasing Fees tor New Tenancies: Each time the Property is leased to a new tenant, Owner will pay
               Broker a leasing fee equal to: (Check one box only.)
          l!l (1) 100. ooo %of one full month's rent to be paid under the lease.
          0 (2)            % of the gross rents to be paid under the lease.
          0 (3)
               The leasing fees under this Paragraph 11 B are earned and payable at the time the lease is executed.
    lXI C. Renewal or Extension Fees: Each time a tenant in the Property renews or extends a lease, Owner will
              pay Broker a renewal or extension fee equal to: (Check one box only.)
          0 (1)             % of one full month's rent to be paid under the renewal or extension.
          0 (2)             % of the gross rents to be paid under the renewal or extension.
          I!) (3) $175 . 00
              The renewal or extension fees under this Paragraph 11 C are earned and payable at the time the
              renewal or extension is effective. For the purposes of this paragraph, a new lease for the same

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             Property with the same tenant then occupying the Property is an extension or renewal. This Paragraph
             11 C does not apply to month·to-month renewals or month-to-month extensions.
   !!I D. Service Fees: Each time Broker arranges for the Property to be repaired, maintained, redecorated, or
             altered as permitted by this agreement, Owner will pay Broker a service fee equal to: (Check one box
             only.)
         I!) (1) 10- ooo %of the total cost of each repair, maintenance, alteration, or redecoration.
         0 (2)                                                                                                  .
             The service fees under this Paragraph 11 D are earned at the time the repair, maintenance,
             redecoration, or alteration is made and are payable upon Owner's receipt of Broker's invoice.
   I!J   E. Interest on Trust Accounts : Any trust account Broker maintains under this agreement may be an
            interest-bearing or income producing account. Broker may retain any interest or income from such
            account as compensation under this agreement. Broker will remove any interest or income payable
            under this Paragraph 11 E from the trust account not later than the 30th day after the interest or
            income is paid.
   1!1 F. Administrative Fees: If Broker collects administrative charges from tenants or prospective tenants,
            including but not limited to, application fees, returned check fees, or late charges (as authorized under
            Paragraph 4A), Broker will retain such fees as compensation under this agreement. The administrative
            fees under this Paragraph 11 Fare earned and payable at the time Broker collects such fees.
   !!I G. Fees Related to Insurance and Legal Matters: If Owner requests or instructs Broker to coordinate or
            communicate with any insurance carrier regarding any casualty to or on the Property or if Owner
            requests or instructs Broker to appear in any legal proceeding or deposition related to the Property
            (including, but not limited to, evictions, tenant disputes, security deposit disputes, and suits for
            damages), Owner will pay Broker $ 45 . oo                per   hour for Broker's time expended in
            such matters and in preparation of such matters. Fees under this Paragraph 11 G are earned at the
            time the services are rendered and payable upon Owner's receipt of Broker's invoice.
   !!I H. Fees in the Event of a Sale:
            (1) Fee if a Tenant Purchases Property: If at any time during this agreement or within   90     days
                after it ends, Owner sells the Property to a tenant who occupied the Property during the term of
                this agreement, Owner will pay Broker a fee equal to: (Check one box only.)
            I!) (a)    6. ooo %of the sales price.
            0 (b)                                                                                                .
                Fees under this Paragraph 11 H(1) are earned at the time Owner agrees to sell the Property and
                are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                time the sale closes.
            (2} Fee if Buyer is Procured through Broker: If during this agreement, Owner agrees to sell the
                Property to a person other than a tenant who occupied the Property and Broker procures the
                buyer, directly or through another broker, Owner will pay Broker a fee equal to: (Check one box
                only.)
            (!) (a)    6 . ooo % of the sales price.
            0    ~                                                                                                                                   -
                 Fees under this Paragraph 11 H(2) are earned at the time Owner agrees to sell the Property and
                 are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                 time the sale closes.
            (3) Sale Coordination Fees: If at any time during this agreement Owner agrees to sell the Property
                and Broker is not paid a fee under Paragraph 11 H(1) or (2), Owner will pay Broker $1 , ooo per
                unit                           for Broker's time and services to coordinate showings, inspections,
                appraisals, repairs, and other related matters. Fees under this Paragraph 11 H(3) are earned at
                the time such services are rendered and payable upon Owner's receipt of Broker's invoice.
            (4) Definition: "Sell" means to agree to sell, convey, transfer or exchange any interest in the Property
                whether by oral or written agreement or option.

   (TAA-2201) 1-1-14    Initialed lor Identification by:    Broker/Associate~-
                                                                             ;~-- and Owner___                              _ __     Page 7 of 12
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                                                           l903f 304#307l 302#1102#209f 301I1101I 204#50B

              (5) Separate Listing Agreement Controls : If Owner sells the Property and pays Broker the fee under a
                  separate written listing agreement between Owner and Broker: (a) this Paragraph 11 H will not
                  apply; and (b) Broker will waive any fees due under Paragraph 12 at the time the sale closes.
    0    I.   Other: _______________________ ___________ ____________ _____________




    12. FEES UPON TERMINATION: At the time this agreement ends, Owner must pay Broker:
        A. all amounts due Broker under this agreement; and
        B. if the Property is leased to a tenant on the date this agreement ends and Owner terminates this
            agreement, an amount equal to the lesser of:
            (a) the management fees that would accrue over the remainder of the term of the lease; or
            (b) $                                    .
        If more than one property or unit is made part of and subject to this agreement, this paragraph applies
        only to those properties or units then leased and applies to each property or unit separately.
    13. EXPENSE REIMBURSEMEN T: Upon Owner's receipt of Broker's invoice, Owner will reimburse Broker
        the following expenses that are related to the leasing or management of the Property: (a) copy charges;
        (b) charges for long distance telephone calls or facsimile transmissions; (c) regular, express, or certified
        mail charges; (d) notary fees; (e) photos and videos; (f) reasonable travel expenses, including but not
        limited to mileage reimbursement (at the standard mileage rate published by the IRS), parking expenses,
        and tolls; and (g) any other expenditures Broker is authorized to make under this agreement for Owner or
        that Owner otherwise authorizes Broker to make for Owner.
    14. FUNDS RECEIVED AFTER TERMINATION: Except as provided in Paragraph 4(1), if Broker receives any
        funds on behalf of Owner after this agreement ends (for example, rent, damages, past due amounts, and
        others), Broker will deposit those funds in Broker's trust account and will: (a) pay  15. ooo      % of the
        funds received to Broker as compensation for services (for example, research, accounting,
        communicating, and processing) rendered at that time; and (b) pay the balance of the funds to Owner.
        This provision survives termination of this agreement.
    15. COOPERATION WITH OTHER BROKERS: When the Property is marketed for lease, Broker will allow
         other brokers to show the Property to prospective tenants. If the other broker procures a tenant who
         leases the Property, Broker will offer to pay the other broker a fee out of the compensation Broker
         receives under Paragraph 11. As of the date this agreement is signed, Broker's policy is to offer other
         brokers the following amounts. Broker may change the amounts disclosed below without notice, provided
         that Broker will offer competitively reasonable amounts to other brokers.
          A. MLS Participants: If the other broker is a participant in the MLS in which the listing is filed, Broker will
             offer to pay the other broker:
             (1) if the other broker represents the tenant (complete only one): 50 . ooo %of one month's rent to
                  be paid under a lease;            %of all rents to be paid under a lease; or$ _ _ _ _ _ __
                  and
             (2) if the other broker is a subagent (complete only one): 25. ooo %of one month's rent to be paid
                  under a lease;            %of all rents to be paid under a lease; or$ _ _ _ _ _ _ __
          B. Non·MLS Brokers: If the other broker is not a participant in the MLS in which the listing is filed, Broker
             will offer to pay the other broker:
             (1) if the other broker represents the tenant (complete only one): 50 . ooo %of one month's rent to
                   be paid under a lease;            %of all rents to be paid under a lease; or$ _ _ _ _ _ __
                   and
             (2) if the other broker is a subagent (complete only one): 25. ooo %of one month's rent to be paid
                   under a lease;            %of all rents to be paid under a lease; or$ _ _ _ _ _ _ __


     (TAR-2201) 1-1-14      Initialed for Identification by: Broker/Associate G_&L"_ _ _ and Owner___ _                       ___       Page 8 of 12
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    Leasing & Management Agreement conc erning: Houston ,             TX 7703;.::6~
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                                                         ft903ft304 # 307ft302l 11024t209ft301l1 1011 204ft508
    16. LIABILITY AND INDEMNIFICATION:

         A. Broker is not responsible or liable in any manner for personal injury to any person or for loss
            or damage to any person's real or personal property resulting from any act or omission not
            caused by Broker's negligence, including but not limited to injuries or damages caused by:
            (1) other brokers, their associates, inspectors, appraisers, and contractors who are authorized
                to access the Property;
            (2) acts of third parties (for example, vandalism, theft, or other criminal acts);
            (3) freezing or leaking water pipes;
            (4) failure to properly water the foundation of the Property;
            (5) a dangerous condition or environmental condition on the Property; or
            (6) the Property's non-compliance with any law or ordinance.

        B. Broker is not responsible or liable in any manner for:
           (1) any late fees or other charges Owner incurs to any creditor caused by late or insufficient
               payments by any tenant in the Property; or
           (2) damages to Owner caused by a tenant's breach of a lease.

        C. Owner agrees to protect, defend, indemnify, and hold Broker harmless from any damage,
           costs, attorney's fees, and expenses that:
           (1) are caused by Owner, negligently or otherwise;
           (2) arise from Owner's failure to disclose any material or relevant information about the
               Property;
           {3) are caused by Owner giving incorrect information to any person; or
           {4) are related to the management of the Property and are not caused by Broker, negligently or
               otherwise.

        D. Owner is responsible and liable for all contracts and obligations related to the Property {for
           example, maintenance, service, repair and utility agreements) entered into before or during this
           agreement by Owner or by Broker under Broker's authority under this agreement. Owner
           agrees to hold Broker harmless from all claims related to any such contracts.

   17. DEFAULT: A party is in default if the party fails to cure a breach within 10 days after receipt of written
       demand from the other party. If either party is in default, the non-defaulting party may: (a) terminate this
       agreement by providing at least 10 days written notice; (b) recover all amounts due to the non-defaulting
       party under this agreement; (c) recover reasonable collection costs and attorney's fees; and (d) exercise
       any other remedy available at law. Broker is also entitled to recover any compensation Broker would have
       been entitled to receive if Owner did not breach this agreement.

   18. MEDIATION: The parties agree to negotiate in good faith in an effort to resolve any dispute related to this
       agreement that may arise between the parties. If the dispute cannot be resolved by negotiation, the
       dispute will be submitted to mediation. The parties to the dispute will choose a mutually acceptable
       mediator and will share the cost of mediation equally.

   19. ATTORNEY'S FEES: If Owner or Broker is a prevailing party in any legal proceeding brought as a result
       of a dispute under this agreement or any transaction related to or contemplated by this agreement, such
       party will be entitled to recover from the non-prevailing party all costs of such proceeding and reasonable
       attorney's fees.

   20. SPECIAL PROVISIONS:




   (TAR-2201) 1·1-14    Initialed for Identification by: Broker/AssociateG     '_~
                                                                         ..... _ _ and Owner _ _ _ _ __                  Page 9 of 12
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    Leasing & Management Agreement concerning: ~H::o~u-=-s'ii'to~n::H-':uT~X=u.'::-:':-:0;-;3f:6::-:-:~;:-::-:-;;;::-:;:-:-u-:-:--:-:-"li":'=-:-...-=-=-----
                                                              f903l304l307#30 211102#209#301 #1101#204#508
   21.    ADDENDA: Incorporated into this agreement are the following addenda, exhibits, and other information:
   hZI    A. Information About Brokerage Services
   0      B. Addendum Regarding Lead-Based Paint
   0      C. Multiple Property Addendum
   0      D. Owner's Notice Concerning Condition of Property under Property Management Agreement
   0      E. Property Manager's Inventory and Condition Report
   lEI    F. Addendum for Authorization to Act for Owner before Owners' Association
   l3l    G. Copy of Rules and Regulations of an Owners' Association
   lEI    H. Copy of the Owners' Association Bylaws and Deed Restrictions affecting the Property
    0     I.
          Note: Complete and deliver to Broker IRS W-9 Form or similar form. Broker maintains a privacy policy that
          is available upon request.
    22. AGREEMENT OF PARTIES:
          A. Entire Agreement: This document contains the entire agreement of the parties and may not be
             changed except by written agreement.
          B. Assignments: Neither party may assign this agreement without the written consent of the other party.
          C. Binding Effect: Owner's obligation to pay Broker an earned fee is binding upon Owner and Owner's
             heirs, administrators, executors, successors, and permitted assignees.
          D. Joint and Several: All Owners executing this agreement are jointly and severally liable for the
             performance of all its terms. Any act or notice to, refund to, or signature of, any one or more of the
             Owners regarding any term of this agreement, its extension, its renewal, or its termination is binding
             on all Owners executing this agreement.
          E. Governing Law: Texas law governs the interpretation, validity, performance, and enforcement of this
             agreement.
          F. Severability: If a court finds any clause in this agreement invalid or unenforceable, the remainder of
             this agreement will not be affected and all other provisions of this agreement will remain valid and
             enforceable.
          G. Context: When the context requires, singular nouns and pronouns include the plural.
          H. Notices: Notices between the parties must be in writing and are effective when sent to the receiving
             party's address, fax, or e·mail address specified in Paragraph 1.
          I.   Copyright: If an active REALTOR® member of the Texas Association of REALTORS® does not
               negotiate this agreement as a party or for one of the parties, with or without the assistance of an active
               member of the State Bar of Texas, this agreement is voidable at will by Owner.
    23. INFORMATION:
          A. Broker's fees or the sharing of fees between brokers are not fixed, controlled, recommended,
             suggested, or maintained by the Association of REALTORS®, MLS, or any listing service.
           B. In accordance with fair housing laws and the National Association of REALTORS® Code of
              Ethics, Broker's services must be provided and the Property must be shown and made
              available to all persons without regard to race, color, religion, national origin, sex, disability,
              familial status, sexual orientation, or gender identity. Local ordinances may provide for
              additional protected classes (for example, creed, status as a student, marital status, or age).
           C. Owner may review the information Broker submits to an MLS or other listing service.

     (TAA·2201) 1· 1· 14     Initialed for Identification by:     Broker/Associate~._:_ _ _ and Owner _ _ _ _ __                            Page 10 of 12
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                                                          6001 Reims Road
    Leasing & Management Agreement concerning : Houston,           TX . 77036          ..
                                                          l903t304l30 7l302t1102f 209l301l11 01i204isos
         D. Broker advises Owner to remove or secure jewelry, prescription drugs, and other valuables.

         E. The Property Code requires the Property to be equipped with certain types of locks and
            security devices, including (with some exceptions): (1) window latches on each window; (2) a
            keyed doorknob lock or keyed deadbolt lock on each exterior door; (3) a sliding door pin lock
            on each exterior sliding glass door of the dwelling; (4) a sliding door handle latch or a sliding
            door security bar on each exterior sliding glass door of the dwelling; and (5) a keyless bolting
            device and a door viewer on each exterior door of the dwelling. The Property Code also
            requires smoke alarms in certain locations. The Property Code requires the security devices to
            be rekeyed and the smoke alarms to be tested each time a new tenant occupies the Property.

         F. Broker cannot give legal advice. READ THIS AGREEMENT CAREFULLY. If you do not
            understand the effect of this agreement, consult an attorney BEFORE signing.

   Blavesco , LTD                                                                   APRF SPl-1 LLC
   Broker's Printed Name                        0443914        License   No.        Owner's Printed Name

       [M:&: erw-L                                       06/30/2014
                                                               Date                 Owner's Signature
                                                                                                                          06/30/2014
                                                                                                                                      Date
   O   Broker's Associate's Signature, as an authorized agent of
       Broker


   Broker's Associate's Printed Name, if applicable                                 Owner's Printed Name



                                                                                    Owner's Signature                                Date




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                             Index to Residential Leasing and Property Management Agreement

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                        RESIDENTIAL LEASING AND PROPERTY MANA GEME NT AGRE
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  1.           PARTIES:

               A. The parties to this agreement are:

                         Owner Arica Lane                                     LLC .

                        Address: PO Box 9993
                        City, State. Zip: The Woodla nds , TX 7138'1
                        Hm. Phone:                         Wk. Ph. •''•=-=t~'"'"''::.:4_,6;.
                                                                                          .;.;9o::a.::.:.
                                                                                                   u~---- Mobile: - - - - - - - -
                        Fax: (832) 381-37 68            E-Mail: j eU@Jefffi sher , com
                        Additional Phones or Conlactlnlormalion: 1e fff jf!!_f ffi aher . c
                                                                                                          om



                        Broker: Bla~-~~0~----~---------------
                        Address: ~5511 Bu dd@ Road ste 1501            ---------­
                        City. State. Zip: The_ Woocllands , TX 77380
                        Phone: 1936) 6 72-767 1                      Fax: ! 832 1 850• 4849
                        E-Mail: heath tdblav esco _com

             B If Owner IS not an individual, Owner IS a. 0 estate 0 corpora
                                                                                 tion !]) lim1ted tiab1hty company (lLC 1
                0 trust 0 partnership 0 limited liability partnershrp (LLP) 0 other    _
                chartered or created 1n                                                                            wh1ct1 was
                                                 TEXAS            (State). The indiVIdual s1gmng this agreement for tr1e
                owner represents to Broker that he or she has the authority to bind
                                                                                     Owner to this agreement to net tor
                Owner, and IS acting under his capacity as               J! ! ree.tc r                (title) for the Owner
             C. Owner appoints Broker as Owner's sole and exclusive leasing
                                                                                     and managing agent ol the real
                property described in Paragraph 2 and in any addendum to this agreem
                                                                                         enl.
 2.         PROPERTY: 'Property·• means:

            Address (include unit nos.) 2.4106 M!via court& Sp ring ,
                                                                      TX                                                                                   773,..!7~3!-------· ---~

            regally described as                            .....:::.
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            1n _ _         Harris                                                                          County . Texas, together with the following non-real -property
            rtems Ref; idgera tcr. Dishw asher

            "Property" also includes any other Property descnbed in any attache
                                                                               d Multiple                                                                                 Property Addendum
3.         TERM:

            A. Pnmary Term: The primary term of this agreement begins and
                                                                          ends as follows
                        Commencement Date: _ _-!J~un
                                                  =e'-=3!.:.0~...~..--:::.
                                                                       2~  0~
                                                                            13
                                                                             ::!--- Expiration Date: ____,
                                                                                                         J~u!\e_30 . 201 6

           B. Automatic Extension: Unless either party provides written notice
                                                                                    of terminatton to the other part 1 dt
              least 30 days before the Expiration Date. this agreement wHI automa
                                                                                       tically extend on a monthly bas,-;
              unttl either party terminates by providing at least 30 days written
                                                                                  notice to the other pany-

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                                             24106 Alivia Court
lcas•no & Man11gomcn1 Ag reement co nccrn•ng Spring. TX 713:?.;!.


      C Effective Services: II Broker determmes that Broker cannot continue to ellectively ~ rovide leasing and
        management services to Owner lor any reason at any time during th1s agre~ment Broker may
        terminate this agreement by providing at least 30 days written notice to Owner.

      0   Fees Uoon Termma!lon: At the time this agreement ends. Owner must pay Broker amounts specified
          in Paragraph 12.

4.    AUTHORITY OF BROKER:

      A. Leasing and Management Authority: Owner grants to Broker the following authonty which Broker may
         exerctse when and to the extent Broker determines to be in Owner's interest:
         ( 1) advertise the Property for lease at Owner's expense by means and methods that Broker
                 determines are reasonably competitive. including but not limited to creating and plactng
                 advertisements with interior and exterior photographic and audio-visual images of the Property
                 and related information tn any media and the Internet:
          (2) place "For lease- signs or other signs on the Property in accordance w1th applicable laws
                 regulations. ordinances. restrictions, and owners' association rules;
         (3) remove all other signs offering the Property lor sale or lease.
         (4) submit the Property as a listing with one or more Multiple Listing Services (MLS) at any ttme the
                 Property is marketed lor lease and to change or termmate such listings;
         (5) authorize other brokers, their associates. inspeclors, appraisers, and contractors to access 1t1e
                 Property at reasonable ttmes for p urposes contemplated by this agreement and to lend keys and
                 disclose security codes to such persons to enter the Property;
         (6) duplicate keys and access devices. at Owner's expense. to facilitate convenient and elf c1cnt
                 showings of the Property and to lease the Property:
         (71 place a keybox on the Property:
         18) employ scheduling companies to schedule showings by other brokers at any time the Property 1s
                 marketed for lease;
         (9) verify Information and references in rental applications from prospective tenants;
         ( 10) negotiate and execute leases on Owner's behalf for the Property at market rates and on
                 compe:tttively reasonable terms for inittalterms of not less than     12    months and not more
                 than      36     months and in accordance with any instructions in Paragraph 20;
         ( 11) negotiate and execute any amendments, extensions. or renewals to any leases lor the Property
                 on Owner's behalf;
         (12) terminate leases lor the Property, negotiate lease terminations. and serve notices of termin at1011
         ( 13) collect and deposit lor Owner rents , security deposits. and other funds related to the Property tn a
                 trust account and pay from that account: (a) any compensation and reimbursements due Broker
                 under this agreement; and {b) other persons as this agreement may authorize.
         (14) account for security deposits that Broker holds in trust to any tenants in the Properly n
                 accordance with applicable law. this agreement. and any lease of the Property and make
                 deductions from the deposits tn accordance with the lease and applicable law:
         {15) collect administrative charges including but not limited to. application fees, returned check tees
                 and late charges from tenants in the Property or from prospective tenants;
         ( 16) tnstitute and prosecute, at Owner's expense. actions to: (a) evict tenants in the Property lb)
                 recover possession ollhe Property; or (c) recover lost rent and other damages :
         ( t 7 ) settle compromise. or withdraw any action described in Paragraph 4A( 16):
         (1 8 ) negotiate and make reasonable concessions to tenants or former tenants in the Property;
         ( 19) report payment histories of tenants in the Property to consumer reporting agen:ies;
         (20) obtain information from any holder of a note secured by a lien on the Property and any insurance
                 company insuring all or part of the Property;




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         (21 ) hire contractors to repair, maintain, redecorate, or aller the Property provided that Broker
                                                                                                             does
               not expend more than $ 150 . oo                            for any single repair, matntenance 11em
               redecoration, or alteration without Owner's consent:
         (22) hire contractors to make emergency repairs to the Property without regard to the expense
                                                                                                            hmtta·
               lion in Paragraph 4A{21 ) that Broker determines are necessary to protect the Property or the
               health or safety of an ordtnary tenant:
         (23) contract. at Owner's expense, in either Broker's or Owner's name, for utilities and maintenanc
                                                                                                                 e
               to the Property during times that the Property is vacant, rncluding but not limtted to electricity
               gas. water. alarm monitonng , cleaning, pool and spa maintenance, yard maintenance, and other
               regularly recurring expenses that Broker determines are reasonable to maintain and care lor the
               Property: and
         (24) perform other necessary services related to the leasing and management oltlle Property

    B.   Record Keeping: Broker will:
         ( 1) ma1ntain accurate records related to the Property and retain such records lor not less than
                                                                                                             4
              years;
         (2) file reports with the Internal Revenue Service related to funds received on behalf ol Owner
                                                                                                         under
              this agreement (for example, Form 1099): and
         (3) remit, each month, the following items to Owner: (a) funds collected by Broker lor Owner
                                                                                                         under
              this agreement, less authorized deductions : and (b) a statement of receipts, disbursements nnd
              charges. Owner may instruct Broker in writing to remit the items to another person or address

    C Security Deposits:
      (1) During this agreement, Broker will maintain secunty depos1ts received from tenants 1n
                                                                                                        a trust
          account and will account to the tenants for the sec:unty deposits in accordance with the leAses for
          the Property.
      (2) Except as staled in Paragraph 4(1), after this agreement ends, Broker will deliver lo Owner
                                                                                                         or the
          Owner's designee the security deposit held by Broker under an effective lease of the Property
          less deductions authorized by this agreement, and will send written notice to lhe tenant that states
          all of the following:
          (a) that this agreement has ended;
          (b) the exact dollar amount of the security deposit;
          (c) lhe conlact information for the Owner or the Owner's designee: and
          (d) that Owner is responsible for accounting for and returning the tenant s security depostl.
      (3) II Broker complies with this Paragraph 4C, Owner will indemnity Broker from any clatm or
                                                                                                           los-;
          from a tenant for the return of a security deposit This Paragraph 4C survives termination of this
          agreement.

   D. Deductions and Offset: Broker may disburse from any funds Broker holds in a trust account
                                                                                                for 0\vner
      ( 1) any compensat ion due Broker under this agreement :
      (2) any funds Broker is authorized to expend under this agreement: and
      (3) any reimbursement Broker is entitled to rece1ve under this agreement.

   E. Insurance and Attorneys:
      ( 1) Broker may not file a claim for a casualty Joss with the carrier insuring the Property Broker
                                                                                                         may
           communicate Wllh the carrier to facilitate the processing of any claim Owner may file or other
           matters that Owner instructs Broker to communicate to the carrier.
      (2) Broker may not directly or indirectly employ or pay a lawyer to represent Gwner Broker
                                                                                                         m.ly
           communicate with Owner's attorney in accordance with OWner's instructions

   F. Information about Trust Accounts. MLS. and Keybox:
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           (1) Trust Accounts: A trust account must be separate from Brokers operating account and must          or
                  designated as a trust. property management. or escrow account or other sinrlar name Broker
                  may mainlarn one trust account for all proper! es Broker leases and manages lc.r others
           (2) MLS: MLS rules require Broker to accurately and ttmely submit all information the MLS requrre
               for participation including leased data. Subscnbers to the MLS may use the information for market
               evaluation or appraisal purposes. Subscribers are other brokers and other real estate
               professionals such as appraisers and may include the appraisal district. Any information flied w1th
               the MLS becomes the property of the MLS for all purposes. Submission of information to MLS
               ensures that persons who use and benefit from the MLS also contribute information
           (3) Keybox. A keybox is a locked container placed on the Property that holds a key to the Property A
                  keybox makes it more convenient for brokers, their associates. Inspectors. apprarsers and
                  contractors to show, inspect. or repair the Property. The keybox IS opened by a specral
                  combinalion key or programmed device. so that authorized persons may enter the Property
                  Using a keybox will probably increase the number of showings, but involves risks (for example
                  unauthorized entry, theft. property damage, or personal rnJury). Neither the Assoc1at1on ot
                  REAL TORS® nor MLS requires the use of a keybox.
      G. Performance Standard: Broker will.
         ( 1) use reasonable care when exercising Brokers authorrty and performing under this agreement and
         (2) exercise discretion when performing under this agreement in a manner that Broker believes to be
              rn Owne(s interest, provided that Broker will treat any tenant honestly and fairly.
      H   lnabilitv lo Contact Owner If Broker is unable to contact Owner for    14    days, Broker is author1zed
          to contact the person below for the sole purpose of attempting to reestablish contact with Owner.
                  Name:                        James Ravmond Fisher                    Phone: (936 ) 239-l976
                  Address:                        11 Coralvine Court The Wcod,land~ Tlf 77380
                  E-mail.                                  j a y . fi s her@blavesco . com
          Foreclosure: If Broker receives notice of the Owner's delinquency in the payment of: ( 1) any mortgage
          or other encumbrance secured by the Property; (2) property taxes; (3) property insurance: or H I
          owners' associ ation fees, Broker may give Owner 15 days to cure the delinquency during which period
          Owner authorizes Broker to freeze any funds held by Broker and no disbursements will be made to
          Owner related to this agreement or the Property. If after the 15 day period, the delinquency is not cured
          and the loreclosure process is initiated, Owner authorizes Broker to deduct from any other funds berng
          held by Broker lor Owner any remaining Broker Fees or funds due to Broker related to scrvict:s
          performed under this agreement. Additionally. Owner authorizes Broker to return any security deposit
          being held by Broker to a tenant of the Property in addition to any prorated amount of rent being held
          by Broker and Broker may terminate this agreement. This paragraph does not preclude the Broker lrorn
          seeking any other remedies under this agreement or at law that may be available to the Broker.
5.    LEGAL COMPLIANCE: The parties will comply with all obligations, duties. and responsibilities under th ~
      Texas Property Code. fair housing laws. and any other statute, administrative rule. ordrnance. or
      restrictive covenant applicable to the use, leasing, management, or care of the Property.
6.   RESERVES: Upon execution of this agreement, Owner will deposit the following amount with Broker to be
     held in a trust account as a reserve for Owner: $ 25 o . oo                for each unit within the Property
     or Properties managed by Broker under this agreement. Broker may, at Broker's discretion, use the
     reserve to pay any expense related to the leasing and management of the Propcrty(ies) (including but nat
     limited to Broker's fees). If the balance of the reserve becomes less than the amount ~•tated. at any time .
     Broker may: (a) deduct an amount that will bring the balance to lhe amount stated from any subsequenl
     rent received on behalf of Owner and deposit the amount into the reserve; or (b) notily Owner that Owner
     must promptly deposit additional funds with Broker to bring the balance to the amount stated.

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7.    ADVANCES: Owner Will. in advance. pro vide Broker all funds necessary for the l easing and managemerrl
      ol the Property Broker Is not obligated to advance any money to Owner or to any other person.
8.    OWNER'S REPRESENTATIONS:
      A. General.
          ( t} Except as d1sclosed in Paragraph 20, Owner represents that:
               (a) Owner has fee simple title to and peaceable possess1on ol the Property and all rls
                    improvements and fixtures, unless rented, and the legal capacity to lease the Property.
               (b ) Owner is not bound by: (i) another agreement with another broker lor the sale, exchange
                    lease. or management of the Property that is or wili be In effect dunng th1s agreement . or 11 1
                    an agreement or covenant that prohibits owner from leasing the property:
               (c) no person or entity has any right to purchase. lease. or acquire the Property by an optron
                    rrght of refusal, or other agreement;
               (d) Owner rs not delinquent rn the payment of any property taxes, owners assocration fees
                    property insurance, mortgage, or any encumbrance on or aHectmg the Property:
               (e) the Property is not subject to the jurisdiction of any court:
               (f) the optional user fees for the use of common areas (for example, pool or tenms courls) rn lhe
                    Property's subdivision are: n a                                                            and
               (g) all information related to the Property that Owner provides to Broker is true and correct to the
                    best of Owner's knowledge.
          (2) Broker may d1sclose to a tenant or to a prospective tenant any information related lo lhe
              representations made in this Paragraph 8.

     B    Property Condition . Owner and Broker are obligated under law to disclose to a tenant or t,~ l
          prospecllve tenant any known conditicn that materially and adversely affects the health or salety ol .ar
          ordinary tenant. Owner 1s obligated under the Property Code lo repair any such co11ditron lor a tenant
          Owner represents thai:
          ( 1) any pool or spa and any required enclosures. fences, gates. and latches comply wrth all
               applicable laws and ordinances: and
          (2) Owner is not aware of a condition concerning the Property that materially affects the heallh or
               safety ol an ordinary tenant, except as stated below, in this agreement, or in any addendum
               none
                                                ---- --- -

     C    Lead·!i}ased Pain!: If the Property was burl! before 1978, Owner will complete and attach to thrs
          agreement an addendum regarding lead·based paint and lead·based paint hazardr. thai will be made
          part ol any lease of the Property. If the Property was buill before 1978, federal law •equires the Owner
          (before a tenant rs obligated under a lease) to. (1 ) provide the tenant with the Ieder aiiy approved
          pamphlet on lead poisoning prevention; (2) disclose the presence of any known lead·based parnt or
          hazards in the Property; and (3) deliver all records and reports to the tenant related to such paint or
          hazards.

9.   OWNER'S COOPERATION: Owner agrees to:
     A. cooperate with Broker to facilitate the showing. markeling, and lease o f the Property:
     B not rcnl or lease the Property to anyone without Broker's prior written approval:
     C. not negotiate with any prospective tenant who might contacl Owner drrectly. but rcler all prospccltvc
        tenants to Broker;
     D. not deal with or negotiate with any tenant rn the Property concerning any ma11er related to lhe
        management or leasing ol the Propeny but refer all such dealings to Broker:
     E. not enter into a listing agreement or property management agreement wrth a11other I.Jrok~ r lor lhe
        rental. leasing, or management of the Properly to become effective during th rs agreement,
     F provide Broker with copies of any existing leases or rental agreements related to the Property·
     G provide Broker with keys and access devices to the Property,

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     H. provide Broker with copies of all warranties related to the Property or any item in the Properly
     I. tender to Broker any security deposits paid by any existmg tenants in the Properly·
     J complete any disclosures or notices required by law or a lease of the Property:
     K. amend applicable notices and disclosures if any material change occurs during this :~greement and
     l. notify Broker if Owner becomes delinquent in the payment of: ( 1 ) any mortgage or other encumbrance
        secured by the Property: (2) property taxes: (3) property insurance. or (4 ) owners' association lees
10. INSURANCE:
     A. At all times during this agreement, Owner must maintain in eHect:
        ( 1l a public liability Insurance policy that names Broker as a co-insured or additional insured and
             covers losses related to the Property in an amount of not less than$ soo . ooo . 00           on
             an occurrence basis; and
        (2) an insurance policy for the Property in an amount equal to the reasonable replacement cost of the
             Property's improvements and that contains endorsements which contemplate the leasmg ot the
             Property with vacancies between lease terms
     B. Not later than the 15th day after the Commencement Date. Owner must deliver to Broker cop1es o1
        certificates of insurance evidencing the coverage required under Paragraph l OA II the coverage
        changes at any time during this agreement, Owner must deliver to Broker a copy of the msurance
        certificate evidencing the change not later than 10 days after the change.
     C. If Owner tails to comply with Paragraphs 1OA or 1OB, Broker may
        ( 1) purchase insurance that will provide Broker the same coverage as the required msurance under
               Paragraph 1OA(1) and Owner must promptly reimburse Broker lor such expense. or
         (2) exerc1se Broker's remedies under Paragraph 17.
11. BROKER'S FEES: All fees to Broker under this agreement are payable in                Montg omery
    County, Texas. This Paragraph 11 survives termination or expiration of this agreement with regard to tees
    earned during this agreement which are not payable until after its termination. Broker may deduct any tees
    under this Paragraph 11 from any funds Broker holds in trust for Owner. If more than one property or uni1
    is made part of and subject to this agreement. each of the provisions below will apply to each properly or
    umt separately.
ll A. Management Fees: Each month Owner will pay Broker the greater of S                            {m1nnnurn
        management fee) or: (Check one box only)
    l!l (1) 5. ooo %of the gross monthly rents collected that month.
    0    (2)
         A vacancy in the Property or failure by a tenant to pay rent does not excuse payment of the muwnurn
         management fee. Management fees under this Paragraph 1 t A are earned daily and are payable not
         Ialor than the last day of each month.
l!l B. Leasing Fees for New Tenancies: Each time the Property is leased to a new tenant. Owner w1JI pa.,.
         Broker a leasing lee equal to: (Check one box only.)
    0 (1 1 100 . ooo %of one full month's rent to be paid under the lease.
    0 (2)            "/o of the gross rents to be paid under the lease.
    l!l (3 ) 50 \ paid t9 Blavesco if no outside agent
         The leasing fees under this Paragraph 11 B are earned and payable at the time the lease is executed
0   C Renewal or Extension Fees: Each time a tenant in the Property renews or extends a lease, Owner w11l
      pay Broker a renewal or extension lee equal to: (Check one box only.)
    0 {1)           "'o of one lull month's rent to be paid under the renewal or extension.
    0 (2)           % of the gross rents to be paid under the renewal or extension
    ~ {3) ~15~0~--------------------------------------------~--~--~~
         The renewal or extension fees under this Paragraph 11 C are earned and payable at the tirne the
         renewal or extension is effective. For the purposes of this paragraph. a new lease for the same

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          Property with the same tenant then occupytng the Property 1S an extension or renewal Thrs ParL!graJ)h
          11 C does not apply to month-to-month renewals or month-to-month extensions.
0      D. Service Fees~ Each time Broker arranges lor the Property to be repaired, maintained. redecorated. Qr
          altered as permitted by this agreement. Owner will pay Broker a service lee equal to (Check one box
          only.)
       0 (1)             1
                          % of the total cost of each repair, maintenance, alteration. or redecoration
       0 (2 }
          The service fees under this Paragraph 11 0 are earned at the time the reparr. marntenance
          redecoration. or alteration is made and are payable upon Owner's receipt of Broker's rnvotce
0      E Interest on Trust Accounts: Any trust account Broker maintains under this agreement may be arl
          tnterest-bearing or income producing account. Broker may retain any interest or tncome from such
          account as compensation under this agreement. Broker will remove any interest or income payable
          under this Paragraph 11 E from the trust account not later than the 3oth day alter the Interest or
          income is paid.
0      F. Admtmstrative Fees: II Broker collects administrative charges from tenants or prospect ve tenants
          rncluding but not limited to. application lees, returned check fees. or late charges (as authonzed under
          Paragraph 4A). Broker will retain such fees as compensation under this agreement. The admrn1stratrve
          l ees under this Paragraph 11 Fare earned and payable at the t1me Broker collects such tees
0      G Fees Related to Insurance and Legal Matters: II Owner requests or Instructs Broker to coordUJate or
          communicate with any insurance carrier regarding any casualty to or on the Property or rf Owner
          requests or instructs Broker to appear in any legal proceeding or deposition related to the Property
          (includrng, but not limited to, evictions, tenant d1sputes. security deposit disputes. and su1ts for
          damages). Owner will pay Broker $30 . oo                   _ per _ hour_ for Broker's time expended u1
          such matters and 1n preparation of such matters Fees under this Paragraph 11 G are earned at the
          t1me the services are rendered and payable upon Owner's receipt of Broker's invoice
!:!l   H. Fees in the Event of a Sale:
          ( 1) Fee it a Tenant Purchases Property: If at any time during th1s agreement or within __      days
               alter 11 ends, Owner sells the Property to a tenant who occupied the Property dunng the term ol
               this agreement, Owner will pay Broker a lee equal to: (Check one box only)
          0 (a) 3 . ooo "'o of the sales price.
          0     (b)                                           -                                   --:---:---::-- - - - -
                Fees under this Paragraph 11H(1) are earned at the time Owner agrees to sell the Property and
                are payable at the lime the sale closes. Broker will waive any fees due under Paragraph 12 at the
                lime the sale closes
          (2) Fee 1LBuver is Procured !hrouah Broker· II during this agreement, Owner agrees to sell the
              Property to a person other than a tenant who occupied the Property and 8 oker procures the
              buyer, d~reclly or through another broker. Owner wirl pay Broker a Icc equal tJ (Check one bo.,
              only.)
          m (a) 3 ' 000 % of the sales price.
          0     (b )
                Fees under this Paragraph 11 H(2) are earned at the time Owner agrees to sell the Property and
                are payable at the time the sale closes. Broker will waive any lees due under Paragraph 12 at the
                time the sale closes.
          (3) Sale Coordinat1on Fees: II at any time during this agreement Owner agrees to sell lhe Property
              and Broker is not paid a lee under Paragraph 11H(1) or (2), Owner will pay Broker soo
                            - -- - - - for Broker's time and services to coordinate showings. inspect1ons
              appraisals. repairs, and other related mailers. Fees under this Paragraph 11 H(J) are earned ill
              the t1me such services are rendered and payable upon Owner's receipt of Broker's 1nvo1ce
          (4) Definition: "Sell" means lo agree to sell, convey, transfer or exchange any Interest m the Proper1y
              whether by oral or wntten agreement or option.

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          (5) Separate L1sling Agreement Controls. If Owner sells the Property and pays Broker the fee under a
              separate written listing agreement between Owner and Broker· (a) this Paragraph 11 H will not
              apply; and {b) Broker will waive any fees due under Paragraph 12 at the time the sale closes
0    I    Other. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




12. FEES UPON TERMINATION~ At the time th1s agreement ends, Owner must pay Broker:
    A. all amounts due Broker under thts agreement; and
    B 11 the Property is leased to a tenant on the date th1s agreement ends and OWner termmatec; till"
        !lQreement. an amount equal to the lesser oU
         (a) the management lees that would accrue over the remainder ol the term of the lease 0 1
         (b $rume_.                              .
    If more than one property or unit is made part ol and subject to this agreement. thts paragraph apphc
    only to those properties or units then leased and applies to each property or umt separately
13. EXPENSE REIMBURSEMENT: Upon Owner's receipt of Broker's tnvotce. Owner wtll re1mburse Broke•
    the following expenses that are related to the leasing or management of the Property: (a) copy charges
    (b) charges lor long distance telephone calls or facsimile transmissions. (c) regular. express or certified
    ma1l charges; (d) notary fees. (e) photos and videos (I) reasonable travel expenses mcludtng but not
    limited to mileage reimbursement (at the standard mileage rate published by the IRS), parking expenses
    and lolls: and (g) any other expenditures Broker is authorized to make under this agrel·ment for Owner or
    that Owner otherwise authorizes Broker to make lor Owner.
14. FUNDS RECEIVED AFTER TERMINATION: Except as provided tn Paragraph 4(1) 1f Broker receives any
    funds on behalf of Owner aher this agreement ends (tor example, rent, damages, past due amounts. and
    others). Broker will deposit those funds In Broker's trust account and will; {a) pay   5 . 000      °a olthe
    funds received to Broker as compensahon for services ~ lor example research ac:counttng
    communicattng, and processing) rendered at that time: and (b) pay the balance of the funds to Owner
    Thts proviston survives termination of this agreement
15. COOPERATION WITH OTHER BROKERS: When the Property is marketed lor lease, Braker Wtll allow
    other brokers to show the Property to prospective tenants. If the other broker procures a tenant wl'o
    leases the Property, Broker will oHer to pay the other broker a lee out ol the compensatton Broker
    recetves under Paragraph 11 . As ol the date this agreement Is stgned. Broker's pohcy is to otter othl"
    brokers the following amounts. Broker may change the amounts disclosed below w1thout not1ce. prov cJed
    that Broker will offer compehtively reasonable amounts to other brokers.
    A MlS Participants· II the other broker is a participant in the MLS in which the hst1ng ts filed. Broker w•ll
        otter to pay the other broker:
         ( 1) if the olher broker represents the lenant (complete only one):            so . ooo % of one month's rent to
               be paid under a lease;                    % of all rents to be paid under a lease; or $ _
               and
         (2) if the other broker is a subagent (complete only one):                               % of one month's rent to be pa1d
               under a lease;                  % of all rents to be paid under a lease; or$
     B. Non-MLS Brokers· If the other broker is not a participartt in lhe MLS tn whtch the listing                    IS   l1led Broker
        wdl otter to pay the other broker:
         (1 ) if the other broker represents the tenant (complete only one):                   so . ooo     "<o ol one month's rent to
               be paid under a lease:                    o/o of all rents to be paid under a lease, or $ _ __
               and
         (2) if the other broker is a subagent (complete only one):               % of one month's rent to be pa J
             under a lease;             % of all rents to be paid under a lease: or $

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16. LIABILITY AND INDEMNIFICATION:

     A. Broker is not responsible or liable in any manner for personal injury to any person or for loss
        or damage to any person's real or personal property resulting from any act or omission not
        caused by Broker's negligence, Including but not limited to injuries or damages caused by:
        (1) other brokers, their associates, Inspectors, appraisers, and contractors who are authorized
            to access the Property;
        (2) acts of third parties (for example, vandalism, theft, or other criminal acts);
        (3) freezing or leaking water pipes;
        (4) failure to properly water the foundation of the Property;
        (5) a dangerous condition or environmental condition on the Property; or
        (6) the Property's non-compliance with any law or ordinance.

     B. Broker Is not responsible or liable In any manner for:
        (1) any late fees or other charges Owner Incurs to any creditor caused by late or Insufficient
            payments by any tenant In the Property; or
        (2) damages to Owner caused by a tenant's breach of a lease.

    C. Owner agrees to protect, defend, Indemnify, and hold Broker harmless from any damage.
       costs, attorney's fees, and expenses that:
       (1} are caused by Owner, negligently or otherwise;
       (2) arise from Owner's failure to disclose any material or relevant inforrnatlon about the
           Property;
       (3) are caused by Owner giving Incorrect Information to any person: or
       (4) are related to the management of the Property and are not caused by Broker, negligently or
           otherwise.

    D. Owner Is responsible and liable tor all contracts and obligations related to the Property (for
       example, maintenance, service, repair and utility agreements) entered Into before or during this
       agreement by Owner or by Broker under Broker's authority under this agreement. Owner
       agrees to hold Broker harmless from all claims related to any such contracts.

11. DEFAULT: A party is in default if the party fails to cure a breach within 10 days alter receipt ol writlcn
    demand from the other party. If either party tS in default, the non·defaulting party may : (a) terminate lhts
    agreement by providing at least 10 days written notice: (b) recover all amounts due to the non·delaulltng
    party under th1s agreement ~ (c) recover reasonabre collection costs and attorney's lees. and (d) exerct<;e
    any other remedy available at law. Broker is also entitled to recover any compensation Broker would have
    been entitled to receive if Owner did not breach this agreement.

18. MEDIATION: The parties agree to negotiate in good failh in an effort to resolve any dtspute related to thts
    agreement that may arise between the parties. II the dispute cannot be resolved by negotiation. the
    dispute will be submitted to mediation. The parties to the dispute will choose a mutually acceptable
    mediator and will share the cost of mediation equally.

19. ATrORNEv·s FEES: II Owner or Broker is a prevailing party in any legal proceeding brought as a rcst.ll
    or a dispute under this agreement or any transaction related to or contemplated by lht3 agreement. sud•
    party will be entitled to recover from the non·prevaiting party all costs of such proceeding and reasonable
    attomey·s lees.

20. SPECIAL PROVISIONS:




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                                               24106 A1ivia Court
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21 . ADDENDA: Incorporated into thrs agreement are the followi ng addenda. exhrbrts and other tnlormattt; n
Qj   A  Information About Brokerage SeNices
0    8  Addendum Regarding lead-Based Paint
0    C. Multiple Property Addendum
0    D  Owner's Notrce Concerning Condition of Property under Property Management Agreemem
0    E. Properly Manager's Inventory and Condrtron Report
0    F Addendum for Authorization to Act tor Owner before Owners' Assocration
0    G Copy of Rules and Regulations of an Owners· Association
0    H. Copy of the Owners' Association Bylaws and Deed Restrictrons affecting the Property
0    1
     Note. Complete and deliver to Broker IRS W-9 Form or similar form. Broker mamtains a privacy policy tn:J'
     1s available upon request.
22. AGREEMENT OF PARTIES:
     A    Entire Agreement: This document contains the entire agreement of the partres and may not be
          changed except by written agreement.

     B    Assignments: Nerther party may assign this agreement without the written consent o f the other pmty

     C    Brndrng Effect: Owner's obligation to pay Broker an earned tee Is btndrng upon C wner and Owner s
          herrs. administrators, eKecutors, successors, and permrned assignees.

     D    Jornt and Several. All Owners executing this agreement are jorntly and severally hrtble lor the
          performance of all its tenns. Any act or notice to, refund to. or signature of. any one or more of the
          Owners regarding any term of this agreement, its extension its renewal or •Is termrnat.on rs bindrno
          on all Owners eKecuting this agreement.
     E    Governing Law: Texas law governs the interpretation, validity. performance. and enforcement ot Hur
          agreement.

     F Severability: If a court hnds any clause in this agreement 1nvalid or unenforceable. the remarm.ler of
          this agreement will nol be affected and all other provisions of thrs agreement will remain valtn nnd
          enforceable.

     G. Context: When the context requires, singular nouns and pronouns include the plural
     H Notices: Notices between the parties must be in writing and are elfective when sent to the recc[vrng
       party's address. fax. or e-matl address specified in Paragraph 1.

          Copyright: II an active REALTOR® member of the Texas Associalton ol REALTORS® does not
          negotiate this agreement as a party or tor one of the part1es, with or wrthout the assistance of an achvc
          member of the State Bar or Texas, this agreement is voidable at wrll by Owner.
23. INFORMATION:
     A. Broker's fees or the sharing of fees between brokers are not fixed, controlled, recommended,
        suggested, or maintained by the Association of REALTORS®, MLS, or any listing service.
     B. In accordance with fair housing laws and the National Association of REALTORS® Code of
        Ethics, Broker's services must be provided and the Property must be shown and made
        available to all persons without regard to race, color, religion, national origin, sex, disability.
        familial status, sexual orientation, or gender Identity. Local ordinances may provide tor
        additional protected classes (for example, creed, status as a student, marital status, or age).
     C. Owner may review the information Broker submits to an MLS or other listing service.

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      D. Broker advises Owner to remove or secure jewelryt prescription drugs, and other valuables.

      E. The Property Code requires the Property to be equipped with certain types or locks and
         security devices, Including (with some exceptions): (1 ) window latches on each window: (2) a
         keyed doorknob lock or keyed deadbolt lock on each exterior door; (3) a sliding door pin lock
         on each exterior sliding glass door of the dwelllng j (4) a sliding door handle latch or a sliding
         door security bar on each exterior sliding glass door of the dwelling; and (5) a keyless bolting
         device and a door viewer on each exterior door of the dwelling. The Prnperty Code also
         requires smoke alarms In certain locations. The Property Code requires the s\!curlty devices to
         be rekeyed and the smoke alarms to be tested each time a new tenant occupies the Property.
     F. Broker cannot give legal advice. READ THIS AGREEMENT CAREFULLY. If you do not
        understand the eHect of this agreement, consult an attorney BEFORE signing.

Blavesco        LTD                                                       Ari c~L~ne      LLC
Broker's Printed Name                       0443914 locense No.           Owner's Prinled Name




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                                                     06/ 30/ 2013                                                06/ 30) 2013
0   Broker s Slgnilture                                   Date                                                              o.,...
0   Brokers Assocmte's S1gnaturc, as an authortzed agent ol
    Broker

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                                                                                                    ~~
                                                                    TEXAS ASSOCI ATJON OF REALTORS®
                 RESIDENTIAL LEASING AND PROPERTY MANAGEMENT AGREEMENT
                                      USE OF THlS FORM BY PERSONS WHO ARE NOT MEMBERS OF THE TEXAS ASSOCIATION OF REALTORS& IS NOT AUTHORIZED.
                                                                        C'Tens Asaoclallan al REALTORS&, Inc. 2014

    1.      PARTIES:

            A. The parties to this agreement are:

                     Owner·: Aus tin Roae! Partn
                                               =e:.:r=--=•~c--=L=L::
                                                                  C:-+----------------------
                     Address: PO Box 9993
                     City, State, Zip: The._Wood1ands , TX 77387
                     Hm. Phone:                         Wk. Ph: ..:.;'s;;.;;t;.;;.6~ 1 6:;..;;4.;;.
                                                                                                6-..;;9.;;.B1;;.;;9;....__ _ _ _ Mobile: - - - - - - - -
                     Fax: (832 >381-37 68                         ie
                                                     E-Mail: .........:.f
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                     Additional Phones or Contact lnformation:_..j~e~   f~ f.~a.@J  J.:..e
                                                                                         ::::.r:!:.:f=:.:f=:.:1:.! :.s:~h~e:.:~r:...;·:..::c~o=m~------------



                     Broker: Blavesco. LTD
                     Address: 25511 Budde Road Ste 1501
                     City, State, Zip: The_Wood1ands , TX 77380
                     Phone: {832 ) 850-4849                                                                                       Fax: (8 32 )381-3768
                     E-Mail: hea ther@  blavesco. com

            B. If Owner is not an individual, Owner is a: 0 estate 0 corporation 1!1 limited liability company (LLC)
               0 trust 0 partnership 0 limited liability partnership (LLP) 0 other                            , which was
               chartered or created in          TEXAS            (State). The individual signing this agreement for the
               owner represents to Broker that he or she has the authority to bind Owner to this agreement, to act for
               Owner, and is acting under his capacity as                n i rector                (title) for the Owner.

            C. Owner appoints Broker as Owner's sole and exclusive leasing and managing agent of the real
               property described in Paragraph 2 and in any addendum to this agreement.

   2.       PROPERTY: "Property" means:

            Address (include unit nos.) See Exhibit A,                                                   Tx

            legally described as: !J.ul tiple Properties Per EXH A

            in       Barris . & MontQome:r:y       County, Texas, together with the following non-real-property
            items: Range , . Dishwashers , Mini Blinds

            "Property" also includes any other Property described in any attached Multiple Property Addendum.

   3.      TERM:

            A. Primary Term : The primary term of this agreement begins and ends as follows:

                     Commencement Date:                          ---=J~
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                                                                          e:.......:
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           B. Automatic Extension: Unless either party provides written notice of termination to the other party at
              least 30 days before the Expiration Date, this agreement will automatically extend on a monthly basis
              until either party terminates by providing at least 30 days written notice to the other party.

   (TAR·2201) 1+14                                                                       · _fi____ and
                                       Initialed for Identification by: Broker/Associatl!..,                                  Owner~..Q_;;t__             ___                    Page 1 of 12
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                                                          See Exhibit A
    Leasing & Management Agreement concerning :-----------------------~-


         C. Effective Services: If Broker determines that Broker cannot continue to effectively provide leasing and
            management services to Owner for any reason at any time during this agreement Broker may
            terminate this agreement by providing at least 30 days written notice to Owner.

         D. Fees Upon Termination: At the time this agreement ends, Owner must pay Broker amounts specified
            in Paragraph 12.

    4.   AUTHORITY OF BROKER:

         A. Leasing and Management Authority: Owner grants to Broker the following authority which Broker may
            exercise when and to the extent Broker determines to be in Owner's interest:
            (1) advertise the Property for lease at Owner's expense by means and methods that Broker
                  determines are reasonably competitive, including but not limited to creating and placing
                  advertisements with interior and exterior photographic and audio-visual images of the Property
                  and related information in any media and the Internet;
            (2) place "For Lease" signs or other signs on the Property in accordance with applicable laws,
                  regulations, ordinances, restrictions, and owners' association rules;
            (3) remove all other signs offering the Property for sale or lease;
            (4) submit the Property as a listing with one or more Multiple Listing Services (MLS) at any time the
                  Property is marketed for lease and to change or terminate such listings;
            (5) authorize other brokers, their associates, inspectors, appraisers, and contractors to access the
                  Property at reasonable times for purposes contemplated by this agreement and to lend keys and
                  disclose security codes to such persons to enter the Property;
            (6) duplicate keys and access devices, at Owner's expense, to facilitate convenient and efficient
                  showings of the Property and to lease the Property;
            (7) place a keybox on the Property;
            (8) employ scheduling companies to schedule showings by other brokers at any time the Property is
                  marketed for lease;
            (9) verify information and references in rental applications from prospective tenants;
            (1 0) negotiate and execute leases on Owner's behalf for the Property at market rates and on
                  competitively reasonable terms for initial terms of not less than     12     months and not more
                  than      36     months and in accordance with any instructions in Paragraph 20;
            (11) negotiate and execute any amendments, extensions, or renewals to any leases for the Property
                  on Owner's behalf;
            (12) terminate leases for the Property, negotiate lease terminations, and serve notices of termination;
            (13) collect and deposit for Owner rents, security deposits, and other funds related to the Property in a
                  trust account and pay from that account: (a) any compensation and reimbursements due Broker
                  under this agreement; and (b) other persons as this agreement may authorize.
            (14) account for security deposits that Broker holds in trust to any tenants in the Property in
                  accordance with applicable law, this agreement, and any lease of the Property and make
                  deductions from the deposits in accordance with the lease and applicable law;
            (15) collect administrative charges including but not limited to, application fees, returned check fees,
                  and late charges from tenants in the Property or from prospective tenants;
            (16) institute and prosecute, at Owner's expense, actions to: (a) evict tenants in the Property; (b)
                  recover possession of the Property; or (c) recover lost rent and other damages;
            (17) settle, compromise, or withdraw any action described in Paragraph 4A(16);
            (18) negotiate and make reasonable concessions to tenants or former tenants in the Property;
            (19) report payment histories of tenants in the Property to consumer reporting agencies;
            (20) obtain information from any holder of a note secured by a lien on the Property and any insurance
                  company insuring all or part of the Property;



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                                                          See Exhibit A
    Leasing & Management Agreement concern ing; - - - - - - - - -- - - - - - -- - - - - - - - - -


              (21) hire contractors to repair, maintain, redecorate, or alter the Property provided that Broker does
                   not expend more than$ soo. oo                              for any single repair, maintenance item,
                   redecoration, or alteration without Owner's consent;
              (22) hire contractors to make emergency repairs to the Property without regard to the expense limita-
                   tion in Paragraph 4A(21) that Broker determines are necessary to protect the Property or the
                   health or safety of an ordinary tenant;
              (23) contract, at Owner's expense, In either Broker's or Owner's name, for utilities and maintenance
                   to the Property during times that the Property is vacant, including but not limited to, electricity,
                   gas, water, alarm monitoring, cleaning, pool and spa maintenance, yard maintenance, and other
                   regularly recurring expenses that Broker determines are reasonable to maintain and care for the
                   Property; and
              (24) perform other necessary services related to the leasing and management of the Property.

         B.   Record Keeping : Broker will:
              (1) maintain accurate records related to the Property and retain such records for not less than 4
                  years;
              (2) file reports with the Internal Revenue Service related to funds received on behalf of Owner under
                  this agreement (for example, Form 1099); and
              (3) remit, each month, the following items to Owner: (a) funds collected by Broker for Owner under
                  this agreement, less authorized deductions; and (b) a statement of receipts, disbursements, and
                  charges. Owner may instruct Broker in writing to remit the items to another person or address.

         C. Security Deposits:
            (1) During this agreement, Broker will maintain security deposits received from tenants in a trust
                account and will account to the tenants for the security deposits in accordance with the leases for
                the Property.
            (2) Except as stated in Paragraph 4(1), after this agreement ends, Broker will deliver to Owner or the
                Owner's designee the security deposit held by Broker under an effective lease of the Property,
                less deductions authorized by this agreement, and will send written notice to the tenant that states
                all of the following:
                (a) that this agreement has ended ;
                (b) the exact dollar amount of the security deposit;
                (c) the contact information for the Owner or the Owner's designee; and
                (d) that Owner is responsible for accounting for and returning the tenant's security deposit.
            (3) If Broker complies with this Paragraph 4C, Owner will indemnify Broker from any claim or loss
                from a tenant for the return of a security deposit. This Paragraph 4C survives termination of this
                agreement.

         D. Deductions and Offset: Broker may disburse from any funds Broker holds in a trust account for Owner:
            (1) any compensation due Broker under this agreement;
            (2) any funds Broker is authorized to expend under this agreement; and
            (3) any reimbursement Broker is entitled to receive under this agreement.

         E. Insurance and Attorneys:
            (1) Broker may not file a claim for a casualty loss with the carrier insuring the Property. Broker may
                communicate with the carrier to facilitate the processing of any claim Owner may file or other
                matters that Owner instructs Broker to communicate to the carrier.
            (2) Broker may not directly or indirectly employ or pay a lawyer to represent Owner. Broker may
                communicate with Owner's attorney in accordance with Owner's instructions.

         F. Information about Trust Accounts. MLS. and Keybox:


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                                                           See Exhibit A
    Leasing & Management Agreement concerning: -- - - - - - - - - - - - - - - - - - - - - - - - - -

              (1) Trust Accounts: A trust account must be separate from Broker's operating account and must be
                  designated as a trust, property management, or escrow account or other similar name. Broker
                  may maintain one trust account for all properties Broker leases and manages for others.
              (2) MLS: MLS rules require Broker to accurately and timely submit all information the MLS requires
                   for participation including leased data. Subscribers to the MLS may use the information for market
                   evaluation or appraisal purposes. Subscribers are other brokers and other real estate
                   professionals such as appraisers and may include the appraisal district. Any information filed with
                   the MLS becomes the property of the MLS for all purposes. Submission of information to MLS
                   ensures that persons who use and benefit from the MLS also contribute information.
              (3) Keybox: A keybox is a locked container placed on the Property that holds a key to the Property. A
                   keybox makes it more convenient for brokers, their associates, inspectors, appraisers, and
                   contractors to show, inspect, or repair the Property. The keybox is opened by a special
                   combination, key, or programmed device, so that authorized persons may enter the Property.
                   Using a keybox will probably increase the number of showings, but involves risks {for example,
                   unauthorized entry, theft, property damage, or personal injury). Neither the Association of
                   REAL TORS® nor MLS requires the use of a keybox.
         G. Performance Standard: Broker will :
            (1) use reasonable care when exercising Broker's authority and performing under this agreement; and
            (2) exercise discretion when performing under this agreement in a manner that Broker believes to be
                in Owner's interest, provided that Broker will treat any tenant honestly and fairly.
         H. Inability to Contact Owner: If Broker is unable to contact Owner for   14    days, Broker is authorized
            to contact the person below for the sole purpose of attempting to reestablish contact with Owner.
                   Name:             James Ravmond Fisher                                                                        Phone:                (936) 239- 1976
                   Address: _______~t~l~C~o~r~ l~
                                              a~  i~
                                                 v~ n~e_c     =o    ~u  =r  ~t~T~h~e~w~o~o~d~l~a~n~d2                                   $~·~     T~X~ 7~
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                                                                                                                                 :::;O::m


         I. Foreclosure: If Broker receives notice of the Owner's delinquency in the payment of: (1) any mortgage
             or other encumbrance secured by the Property; (2) property taxes; (3) property insurance; or (4)
             owners' association fees, Broker may give Owner 15 days to cure the delinquency during which period
             Owner authorizes Broker to freeze any funds held by Broker and no disbursements will be made to
             Owner related to this agreement or the Property. If after the 15 day period, the delinquency is not cured
             and the foreclosure process is initiated, Owner authorizes Broker to deduct from any other funds being
             held by Broker for Owner any remaining Broker Fees or funds due to Broker related to services
             performed under this agreement. Additionally, Owner authorizes Broker to return any security deposit
             being held by Broker to a tenant of the Property in addition to any prorated amount of rent being held
             by Broker and Broker may terminate this agreement. This paragraph does not preclude the Broker from
             seeking any other remedies under this agreement or at law that may be available to the Broker.
    5.   LEGAL COMPLIANCE: The parties will comply with all obligations, duties, and responsibilities under the
         Texas Property Code, fair housing laws, and any other statute, administrative rule, ordinance, or
         restrictive covenant applicable to the use, leasing, management, or care of the Property.
    6.   RESERVES: Upon execution of this agreement, Owner will deposit the following amount with Broker to be
         held in a trust account as a reserve for Owner:$ 250 . oo                 for each unit within the Property
         or Properties managed by Broker under this agreement. Broker may, at Broker's discretion, use the
         reserve to pay any expense related to the leasing and management of the Property(ies) (including but not
         limited to Broker's fees). If the balance of the reserve becomes less than the amount stated, at any time,
         Broker may: (a) deduct an amount that will bring the balance to the amount stated from any subsequent
         rent received on behalf of Owner and deposit the amount into the reserve; or (b) notify Owner that Owner
         must promptly deposit additional funds with Broker to bring the balance to the amount stated.
                                                                                   r •                            •
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                           Initialed for Identification by: Broker/Associate ""tt                                "
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                                                           See Exhibi. t           A
    leasing & Management Agreement concerning: - -- - -- - -- - - - - --                                                     ----------

    7.   ADVANCES: Owner will, in advance, provide Broker all funds necessary for the leasing and management
         of the Property. Broker is not obligated to advance any money to Owner or to any other person.
    8.   OWNER'S REPRESENTATIONS:
         A. General:
            (1) Except as disclosed in Paragraph 20, Owner represents that:
                (a) Owner has fee simple title to and peaceable possession of the Property and all its
                    improvements and fixtures, unless rented, and the legal capacity to lease the Property;
                (b) Owner is not bound by: (i) another agreement with another broker for the sale, exchange,
                    lease, or management of the Property that is or will be in effect during this agreement; or (ii)
                    an agreement or covenant that prohibits owner from leasing the property;
                (c) no person or entity has any right to purchase, lease, or acquire the Property by an option,
                     right of refusal, or other agreement;
                (d) Owner is not delinquent in the payment of any property taxes, owners' association fees,
                    property insurance, mortgage, or any encumbrance on or affecting the Property;
                (e) the Property is not subject to the jurisdiction of any court;
                (f) the optional user fees for the use of common areas (for example, pool or tennis courts) in the
                    Property's subdivision are: n                                                              ; and
                (g) all information related to the Property that Owner provides to Broker is true and correct to the
                    best of Owner's knowledge.
             (2) Broker may disclose to a tenant or to a prospective tenant any information related to the
                 representations made in this Paragraph 8.
         B. Prooerty Condition: Owner and Broker are obligated under law to disclose to a tenant or to a
            prospective tenant any known condition that materially and adversely affects the health or safety of an
            ordinary tenant. Owner is obligated under the Property Code to repair any such condition for a tenant.
            Owner represents that:
            (1) any pool or spa and any required enclosures, fences, gates, and latches comply with all
                 applicable laws and ordinances; and
            (2) Owner is not aware of a condition concerning the Property that materially affects the health or
                safety of an ordinary tenant, except as stated below, in this agreement, or in any addendum:
                none



         C. Lead-Based Paint: If the Property was built before 1978, Owner will complete and attach to this
            agreement an addendum regarding lead-based paint and lead-based paint hazards that will be made
            part of any lease of the Property. If the Property was built before 1978, federal law requires the Owner
            (before a tenant is obligated under a lease) to: (1) provide the tenant with the federally approved
            pamphlet on lead poisoning prevention; (2) disclose the presence of any known lead-based paint or
            hazards in the Property; and (3) deliver all records and reports to the tenant related to such paint or
            hazards.
   9.    OWNER'S COOPERATION: Owner agrees to:
         A. cooperate with Broker to facilitate the showing , marketing, and lease of the Property;
         B. not rent or lease the Property to anyone without Broker's prior written approval;
         C. not negotiate with any prospective tenant who might contact Owner directly, but refer all prospective
            tenants to Broker;
         D. not deal with or negotiate with any tenant in the Property concerning any matter related to the
            management or leasing of the Property but refer all such dealings to Broker;
         E. not enter into a listing agreement or property management agreement with another broker for the
            rental, leasing, or management of the Property to become effective during this agreement;
         F. provide Broker with copies of any existing leases or rental agreements related to the Property;
         G. provide Broker with keys and access devices to the Property;

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    Leasing & Management Agreement concerning: - - - - - - - - - - - - - - - - - - - - - - - - - -


          H. provide Broker with copies of all warranties related to the Property or any item in the Property;
          I. tender to Broker any security deposits paid by any existing tenants in the Property;
          J. complete any disclosures or notices required by law or a lease of the Property;
          K. amend applicable notices and disclosures if any material change occurs during this agreement; and
          L. notify Broker if Owner becomes delinquent in the payment of: (1) any mortgage or other encumbrance
             secured by the Property; (2) property taxes ; (3) property insurance; or (4) owners' association fees .
    10. INSURANCE:

          A. At all times during this agreement, Owner must maintain in effect:
             (1) a public liability insurance policy that names Broker as a co-insured or additional insured and
                  covers losses related to the Property in an amount of not less than $ 500, ooo. oo            on
                  an occurrence basis; and
             (2) an insurance policy for the Property in an amount equal to the reasonable replacement cost of the
                  Property's improvements and that contains endorsements which contemplate the leasing of the
                  Property with vacancies between lease terms.
          B. Not later than the 15th day after the Commencement Date, Owner must deliver to Broker copies of
             certificates of insurance evidencing the coverage required under Paragraph 1OA. It the coverage
             changes at any time during this agreement, Owner must deliver to Broker a copy of the insurance
             certificate evidencing the change not later than 10 days after the change.
          C. If Owner fails to comply with Paragraphs 1OA or 1OB, Broker may:
             (1) purchas~ insurance that will provide Broker the same coverage as the required insurance under
                  Paragraph 10A(1) and Owner must promptly reimburse Broker for such expense; or
             (2) exercise Broker's remedies under Paragraph 17.
    11. BROKER'S FEES: All fees to Broker under this agreement are payable in               Montgomery
        County, Texas. This Paragraph 11 survives termination or expiration of this agreement with regard to fees
        earned during this agreement which are not payable until after its termination. Broker may deduct any fees
        under this Paragraph 11 from any funds Broker holds in trust for Owner. If more than one property or unit
        is made part of and subject to this agreement. each of the provisions below will apply to each property or
        unit separately.

    l!l    A. Management Fees: Each month Owner will pay Broker the greater of $                         (minimum
              management fee) or: (Check     one box only.)
          IKI (1) 5. ooo %of the gross monthly rents collected that month.
          0 (2)
              A vacancy in the Property or failure by a tenant to pay rent does not excuse payment of the minimum
              management fee. Management fees under this Paragraph 11 A are earned daily and are payable not
              later than the last day of each month.

    l!l   B. Leasing Fees for New Tenancies: Each time the Property is leased to a new tenant, Owner will pay
             Broker a leasing fee equal to: (Check one box only.)
          0 (1) 100. ooo %of one full month's rent to be paid under the lease.
          0 (2)             % of the gross rents to be paid under the lease.
          0 (3)
             The leasing fees under this Paragraph 11 B are earned and payable at the time the lease is executed.

    l!l C. Renewal or Extension Fees: Each time a tenant in the Property renews or extends a lease, Owner will
              pay Broker a renewal or extension fee equal to: (Check one box only.)
          0 (1)          %of one full month's rent to be paid under the renewal or extension.
          0 (2)          %of the gross rents to be paid under the renewal or extension.
                  50~---------------------------------------------------------
          @ (3) =1=
              The renewal or extension fees under this Paragraph 11 C are earned and payable at the time the
              renewal or extension is effective. For the purposes of this paragraph, a new lease for the same

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             Property with the same tenant then occupying the Property is an extension or renewal. This Paragraph
             11 C does not apply to month-to-month renewals or month-to-month extensions.
    1!1 D. Service Fees: Each time Broker arranges for the Property to be repaired, maintained, redecorated, or
             altered as permitted by this agreement, Owner will pay Broker a service fee equal to: (Check one box
             only.)
         0   (1)            %of the total cost of each repair, maintenance, alteration, or redecoration.
         0   (2)                                                                                                .
             The service fees under this Paragraph 11 D are earned at the time the repair, maintenance,
             redecoration, or alteration is made and are payable upon Owner's receipt of Broker's invoice.
    l!l E. Interest on Trust Accounts: Any trust account Broker maintains under this agreement may be an
             interest-bearing or income producing account. Broker may retain any interest or income from such
             account as compensation under this agreement. Broker will remove any interest or income payable
             under this Paragraph 11 E from the trust account not later than the 30th day after the interest or
             income is paid.
    l!l F. Administrative Fees: If Broker collects administrative charges from tenants or prospective tenants,
             including but not limited to, application fees, returned check fees, or late charges (as authorized under
             Paragraph 4A), Broker will retain such fees as compensation under this agreement. The administrative
             fees under this Paragraph 11 F are earned and payable at the time Broker collects such fees.
   1!1   G. Fees Related to Insurance and Legal Matters: If Owner requests or instructs Broker to coordinate or
            communicate with any insurance carrier regarding any casualty to or on the Property or if Owner
            requests or instructs Broker to appear in any legal proceeding or deposition related to the Property
            (including, but not limited to, evictions, tenant disputes, security deposit disputes, and suits for
            damages), Owner will pay Broker $ 30 . oo                per   hour for Broker's time expended in
            such matters and in preparation of such matters. Fees under this Paragraph 11 G are earned at the
            time the services are rendered and payable upon Owner's receipt of Broker's invoice.
   1!1   H. Fees in the Event of a Sale:
             (1) Fee if a Tenant Purchases Property: If at any time during this agreement or within   60     days
                 after it ends, Owner sells the Property to a tenant who occupied the Property during the term of
                 this agreement, Owner will pay Broker a fee equal to: (Check one box only.)
             0 (a) 6 . ooo %of the sales price.
             0   (b)                                                                                              .
                 Fees under this Paragraph 11 H(1) are earned at the time Owner agrees to sell the Property and
                 are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                 time the sale closes.
             (2) Fee if Buyer is Procured through Broker: If during this agreement, Owner agrees to sell the
                 Property to a person other than a tenant who occupied the Property and Broker procures the
                 buyer, directly or through another broker, Owner will pay Broker a fee equal to: (Check one box
                 only.)
             l!l (a) 6. ooo %of the sales price.
             0 ~                                                                                                  .
                 Fees under this Paragraph 11 H(2) are earned at the time Owner agrees to sell the Property and
                 are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                 time the sale closes.
             (3) Sale Coordination Fees: If at any time during this agreement Owner agrees to sell the Property
                 and Broker is not paid a fee under Paragraph 11 H(1) or (2), Owner will pay Broker =5 =0-0= - - - - -
                 - - - - - - - - - - - for Broker's time and services to coordinate showings, inspections,
                 appraisals, repairs, and other related matters. Fees under this Paragraph 11 H(3) are earned at
                 the time such services are rendered and payable upon Owner's receipt of Broker's invoice.
             (4) Definition: "Sell" means to agree to sell, convey, transfer or exchange any interest in the Property
                 whether by oral or written agreement or option.

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              (5) Separate Listing Agreement Controls: If Owner sells the Property and pays Broker the fee under a
                  separate written listing agreement between Owner and Broker: (a) this Paragraph 11 H will not
                  apply; and (b) Broker will waive any fees due under Paragraph 12 at the time the sale closes.
    0    I.   Other: ___________________________________ _________________________




    12. FEES UPON TERMINATION: At the time this agreement ends, Owner must pay Broker:
        A. all amounts due Broker under this agreement; and
        B. if the Property is leased to a tenant on the date this agreement ends and Owner terminates t111s
           agreement, an amount equal to the lesser of:
           (a) the management fees that would accrue over the remainder of the term of the lease; or
              (b) $ none                                            .
        If more than one property or unit is made part of and subject to this agreement, this paragraph applies
        only to those properties or units then leased and applies to each property or unit separately.
    13. EXPENSE REIMBURSEMENT: Upon Owner's receipt of Broker's invoice, Owner will reimburse Broker
        the following expenses that are related to the leasing or management of the Property: (a) copy charges;
        (b) charges for long distance telephone calls or facsimile transmissions; (c) regular, express, or certified
        mail charges; (d) notary fees; (e) photos and videos; (f) reasonable travel expenses, including but not
        limited to mileage reimbursement (at the standard mileage rate published by the IRS), parking expenses,
        and tolls; and (g) any other expenditures Broker is authorized to make under this agreement for Owner or
        that Owner otherwise authorizes Broker to make for Owner.
    14. FUNDS RECEIVED AFTER TERMINATION: Except as provided in Paragraph 4(1) , if Broker receives any
         funds on behalf of Owner after this agreement ends (for example, rent, damages, past due amounts, and
         others), Broker will deposit those funds in Broker's trust account and will: (a) pay s . ooo %of the
         funds received to Broker as compensation for services (for example, research, accounting,
         communicating, and processing) rendered at that time; and (b) pay the balance of the funds to Owner.
         This provision survives termination of this agreement.
    15. COOPERATION WITH OTHER BROKERS: When the Property is marketed for lease, Broker will allow
        other brokers to show the Property to prospective tenants. If the other broker procures a tenant who
         leases the Property, Broker will offer to pay the other broker a fee out of the compensation Broker
         receives under Paragraph 11 . As of the date this agreement is signed, Broker's policy is to offer other
         brokers the following amounts. Broker may change the amounts disclosed below without notice, provided
         that Broker will offer competitively reasonable amounts to other brokers.
         A. MLS Participants: If the other broker is a participant in the MLS in which the listing is filed, Broker will
            offer to pay the other broker:
              (1) if the other broker represents the tenant (complete only one):               so. ooo %of one month's rent to
                  be paid under a lease;                         %of all rents to be paid under a lease; or$ _ __ _ _ __
                  and
              (2) if the other broker is a subagent (complete only one):               % of one month's rent to be paid
                  under a lease;             % of all rents to be paid under a lease; or$ _ _ _ _ __ _ _
         B. Non-MLS Brokers: If the other broker is not a participant in the MLS in which the listing is filed, Broker
            will offer to pay the other broker:
              (1) if the other broker represents the tenant (complete only one): so. ooo                  %of one month's rent to
                  be paid under a lease; .                       %of all rents to be paid under a lease; or$ _ __ _ _ __
                  and
              (2) if the other broker is a subagent (complete only one):               %of one month's rent to be paid
                  under a lease;             % of all rents to be paid under a lease; or$ _ _ _ _ _ _ __


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    leasing & Management Agreement concerning: -----------------~-------


    16. LIABILITY AND INDEMNIFICATION:

         A. Broker is not responsible or liable in any manner for personal injury to any person or for loss
            or damage to any person's real or personal property resulting from any act or omission not
            caused by Broker's negligence, including but not limited to injuries or damages caused by:
            (1) other brokers, their associates, inspectors, appraisers, and contractors who are authorized
                to access the Property;
            (2) acts of third parties (for example, vandalism, theft, or other criminal acts);
            (3) freezing or leaking water pipes;
            (4) failure to properly water the foundation of the Property;
            (5) a dangerous condition or environmental condition on the Property; or
            (6) the Property's non-compliance with any law or ordinance.

         B. Broker is not responsible or liable in any manner for:
            (1) any late fees or other charges Owner incurs to any creditor caused by late or insufficient
                payments by any tenant in the Property; or
            (2) damages to Owner caused by a tenant's breach of a lease.

         C. Owner agrees to protect, defend, indemnify, and hold Broker harmless from any damage,
            costs, attorney's fees, and expenses that:
            (1) are caused by Owner, negligently or otherwise;
            (2) arise from OWner's failure to disclose any material or relevant information about the
                Property;
            (3) are caused by Owner giving incorrect information to any person; or
            (4) are related to the management of the Property and are not caused by Broker, negligently or
                otherwise.

        D. Owner is responsible and liable for all contracts and obligations related to the Property (for
           example, maintenance, service, repair and utility agreements) entered into before or during this
           agreement by Owner or by Broker under Broker's authority under this agreement. Owner
           agrees to hold Broker harmless from all claims related to any such contracts.

    17. DEFAULT: A party is in default if the party fails to cure a breach within 10 days after receipt of written
        demand from the other party. If either party is in default, the non·defaulting party may: (a) terminate this
        agreement by providing at least 10 days written notice; (b) recover all amounts due to the non·defaulting
        party under this agreement; (c) recover reasonable collection costs and attorney's fees; and (d) exercise
        any other remedy available at law. Broker is also entitled to recover any compensation Broker would have
        been entitled to receive if Owner did not breach this agreement.

   18. MEDIATION: The parties agree to negotiate in good faith in an effort to resolve any dispute related to this
       agreement that may arise between the parties. If the dispute cannot be resolved by negotiation, the
       dispute will be submitted to mediation. The parties to the dispute will choose a mutually acceptable
       mediator and will share the cost of mediation equally.

   19. ATTORNEY'S FEES: If Owner or Broker is a prevailing party in any legal proceeding brought as a result
       of a dispute under this agreement or any transaction related to or contemplated by this agreement, such
       party will be entitled to recover from the non·prevailing party all costs of such proceeding and reasonable
       attorney's fees.

   20. SPECIAL PROVISIONS:




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    21. ADDENDA : Incorporated into this agreement are the following addenda, exhibits, and other information:
    ~   A. Information About Brokerage Services
    0 B. Addendum Regarding Lead-Based Paint
    0 C. Multiple Property Addendum
    0 D. Owner's Notice Concerning Condition of Property under Property Management Agreement
    0 E. Property Manager's Inventory and Condition Report
    0 F. Addendum for Authorization to Act for Owner before Owners' Association
    0 G. Copy of Rules and Regulations of an Owners' Association
    0 H. Copy of the Owners' Association Bylaws and Deed Restrictions affecting the Property
    0    I.

         Note: Complete and deliver to Broker IRS W-9 Form or similar form. Broker maintains a privacy policy that
         is available upon request.
    22. AGREEMENT OF PARTIES:
         A. Entire Agreement: This document contains the entire agreement of the parties and may not be
            changed except by written agreement.
         B. Assignments: Neither party may assign this agreement without the written consent of the other party.
         C. Binding Effect: Owner's obligation to pay Broker an earned fee is binding upon Owner and Owner's
            heirs, administrators, executors, successors, and permitted assignees.
         D. Joint and Several: All Owners executing this agreement are jointly and severally liable for the
            performance of all its terms. Any act or notice to, refund to, or signature of, any one or more of the
            Owners regarding any term of this agreement, its extension, its renewal, or its termination is binding
            on all Owners executing this agreement.
         E. Governing Law: Texas law governs the interpretation, validity, performance, and enforcement of this
            agreement.
         F. Severability: If a court finds any clause in this agreement invalid or unenforceable, the remainder of
            this agreement will not be affected and all other provisions of this agreement will remain valid and
            enforceable.
         G. Context: When the context requires, singular nouns and pronouns include the plural.
         H. Notices: Notices between the parties must be in writing and are effective when sent to the receiving
            party's address, fax, or e-mail address specified in Paragraph 1.
         I.   Copyright: If an active REALTOR® member of the Texas Association of REALTORS® does not
              negotiate this agreement as a party or for one of the parties, with or without the assistance of an active
              member of the State Bar of Texas, this agreement is voidable at will by Owner.
    23. INFORMATION:
         A. Broker's fees or the sharing of fees between brokers are not fixed, controlled, recommended,
            suggested, or maintained by the Association of REALTORS®, MLS, or any listing service.
         B. In accordance with fair housing laws and the National Association of REALTORS® Code of
            Ethics, Broker's services must be provided and the Property must be shown and made
            available to all persons without regard to race, color, religion, national origin, sex, disability,
            familial status, sexual orientation, or gender identity. local ordinances may provide for
            additional protected classes (for example, creed, status as a student, marital status, or age).
         C. Owner may review the information Broker submits to an MLS or other listing service.

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          D. Broker advises Owner to remove or secure jewelry, prescription drugs, and other valuables.

          E. The Property Code requires the Property to be equipped with certain types of locks and
             security devices, including (with some exceptions): (1) window latches on each window; (2) a
             keyed doorknob lock or keyed deadbolt lock on each exterior door; (3) a sliding door pin lock
             on each exterior sliding glass door of the dwelling; (4) a sliding door handle latch or a sliding
             door security bar on each exterior sliding glass door of the dwelling; and (5) a keyless bolting
             device and a door viewer on each exterior door of the dwelling. The Property Code also
             requires smoke alarms in certain locations. The Property Code requires the security devices to
             be rekeyed and the smoke alarms to be tested each time a new tenant occupies the Property.

         F. Broker cannot give legal advice. READ THIS AGREEMENT CAREFULLV. If you do not
            understand the effect of this agreement, consult an attorney BEFORE signing.

    Blavesco. LTD                                                                   Austin Road. Partners, LLC
    Broker's Printed Name                        0443914 License No.                Owner's Printed Name
    r -.,,
    l_xq~~! ~~                                            06 / 30 / 2013           fi~,;J p.mun, UL                       06/ 30 / 2013
    [!) Broker's Signature                                      Date                         !:'Signature                          Date
    O   Broker's Associate's Signature, as an authorized agent of
        Broker

    Heather L carlile                                                               Jeff Fisher
    Broker's Associate's Printed Name, if applicable                                Owner's Printed Name



                                                                                   Owner's Signature                               Date




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                                                               TEXAS ASSOCIATION OF REALTORS®
                RESIDENTIAL LEASING AND PROPERTY MANAGEMENT AGREEMENT
                                  USE OF THIS FORM BY PERSONS WHO ARE NOT MEMBERS OF THE TEXAS ASSOCIATION OF REAL TORSO IS NOT AUTHORIZED.
                                                                   CTeoa Association ol REALTORStt, Inc. 2014


    1.      PARTIES:

            A. The parties to this agreement are:



                  Address: PO Box 9993
                  City, State, Zip: 'l'he WoocUands , TX 17387
                  Hm. Phone:                          Wk. Ph: ...:.'a=3=2 .:....; )8   =s-=-        84=9' - - - - - - Mobile: - - - - - - - -
                                                                                         o-.....;4;.;;.
                  Fax: 1832) 747-9923              E-Mail :...
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                                                                                                                         ;:;.;o~m
                                                                                                                                ~------------
                  Additional Phones or Contact Information: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                  Broker: Blavesco LTD
                  Address: 25511 Budde Road ste 1801
                  City, State, Zip: Th~ WoocUands e TX 77380
                  Phone: ( 832 l 850-4849                                                                                         Fax: ( 832 ) 747-9923
                  E-Mail: heather@blavesco. com

            B. If Owner is not an individual, Owner is a: 0 estate 0 corporation [!) limited liability company (LLC)
               0 trust 0 partnership 0 limited liability partnership (LLP) 0 other                            , which was
               chartered or created in           Texas           (State). The individual signing this agreement for the
               owner represents to Broker that he or she has the authority to bind Owner to this agreement, to act for
               Owner, and is acting under his capacity as           Manaqinq Member                (title) for the Owner.

            C. Owner appoints Broker as Owner's sole and exclusive leasing and managing agent of the real
               property described in Paragraph 2 and in any addendum to this agreement.

    2.      PROPERTY: "Property" means:

            Address (include unit nos.) 2 5~511 Budde Road - Bldq 30 , The Woo$fl !!nds . TX                                                                                    77380

            legally described as: Buildinq 30 - Brownstone Office Condominiums Ph 02

            in _ __
            items: ______;.:.
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                                                            -_County,
                                                                ___   Texas,
                                                                       ___   together
                                                                               _ _ _with
                                                                                      __ the
                                                                                           _following
                                                                                             ____     non-real-property
                                                                                                       _ _ _ _ ___

            "Property" also includes any other Property described in any attached Multiple Property Addendum.

    3. TERM:
           A. Primary Term: The primary term of this agreement begins and ends as follows:

                  Commencement Date: --=
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                                                                               5_ _ Expiration Date:                                                --~J~
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            B. Automatic Extension: Unless either party provides written notice of termination to the other party at
               least 30 days before the Expiration Date, this agreement will automatically extend on a monthly basis
               until either party terminates by providing at leapj~:;ys written notice to the other party.

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         C. Effective Services: If Broker determines that Broker cannot continue to effectively provide leasing and
            management services to Owner for any reason at any time during this agreement Broker may
            terminate this agreement by providing at least 30 days written notice to Owner.

         D. Fees Upon Termination: At the time this agreement ends, Owner must pay Broker amounts specified
            in Paragraph 12.

    4.   AUTHORITY OF BROKER:

         A. Leasing and Management Authority: Owner grants to Broker the following authority which Broker may
             exercise when and to the extent Broker determines to be in Owner's interest:
             (1) advertise the Property for lease at Owner's expense by means and methods that Broker
                   determines are reasonably competitive, including but not limited to creating and placing
                   advertisements with interior and exterior photographic and audio-visual images of the Property
                   and related information in any media and the Internet;
             (2) place "For Lease" signs or other signs on the Property in accordance with applicable laws,
                   regulations, ordinances, restrictions, and owners' association rules;
             (3) remove all other signs offering the Property for sale or lease;
             (4) submit the Property as a listing with one or more Multiple Listing Services (MLS) at any time the
                   Property is marketed for lease and to change or terminate such listings;
             (5) authorize other brokers, their associates, inspectors, appraisers, and contractors to access the
                   Property at reasonable times for purposes contemplated by this agreement and to lend keys and
                   disclose security codes to such persons to enter the Property;
             (6) duplicate keys and access devices, at Owner's expense, to facilitate convenient and efficient
                   showings of the Property and to lease the Property;
             (7) place a keybox on the Property;
             (8) employ scheduling companies to schedule showings by other brokers at any time the Property is
                   marketed for lease;
             (9) verify information and references in rental applications from prospective tenants;
             (1 0) negotiate and execute leases on Owner's behalf for the Property at market rates and on
                   competitively reasonable terms for initial terms of not less than     12     months and not more
                   than     36      months and in accordance with any instructions in Paragraph 20;
             (11) negotiate and execute any amendments, extensions, or renewals to any leases for the Property
                   on Owner's behalf;
             (12) terminate leases for the Property, negotiate lease terminations, and serve notices of termination;
             (13) collect and deposit for Owner rents, security deposits, and other funds related to the Property in a
                   trust account and pay from that account: (a) any compensation and reimbursements due Broker
                   under this agreement; and (b) other persons as this agreement may authorize.
             (14) account for security deposits that Broker holds in trust to any tenants in the Property in
                   accordance with applicable law, this agreement, and any lease of the Property and make
                   deductions from the deposits in accordance with the lease and applicable law;
             (15) collect administrative charges including but not limited to, application fees, returned check fees,
                   and late charges from tenants in the Property or from prospective tenants;
             (16) institute and prosecute, at Owner's expense, actions to: (a) evict tenants in the Property; (b)
                   recover possession of the Property; or (c) recover lost rent and other damages;
             (17) settle, compromise, or withdraw any action described in Paragraph 4A(16);
             (18) negotiate and make reasonable concessions to tenants or former tenants in the Property;
             (19) report payment histories of tenants in the Property to consumer reporting agencies;
             (20) obtain information from any holder of a note secured by a lien on the Property and any insurance
                   company insuring all or part of the Property;


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                 (21) hire contractors to repair, maintain, redecorate, or alter the Property provided that Broker does
                      not expend more than $ 1 . ooo. oo                         for any single repair, maintenance item,
                      redecoration, or alteration without Owner's consent;
                 (22) hire contractors to make emergency repairs to the Property without regard to the expense limita-
                      tion in Paragraph 4A(21) that Broker determines are necessary to protect the Property or the
                      health or safety of an ordinary tenant;
                 (23) contract, at Owner's expense, in either Broker's or Owner's name, for utilities and maintenance
                      to the Property during times that the Property is vacant, including but not limited to, electricity,
                      gas, water, alarm monitoring, cleaning, pool and spa maintenance, yard maintenance, and other
                      regularly recurring expenses that Broker determines are reasonable to maintain and care for the
                      Property; and
                 (24) perform other necessary services related to the leasing and management of the Property.

          B.     Record Keeping: Broker will:
                 (1) maintain accurate records related to the Property and retain such records for not less than 4
                     years;
                 (2) file reports with the Internal Revenue Service related to funds received on behalf of Owner under
                     this agreement (for example, Form 1099); and
                 (3) remit, each month, the following items to Owner: (a) funds collected by Broker for Owner under
                     this agreement, less authorized deductions; and (b) a statement of receipts, disbursements, and
                     charges. Owner may instruct Broker in writing to remit the items to another person or address.

          C. Security Deposits:
             ( 1) During this agreement, Broker will maintain security deposits received from tenants in a trust
                  account and will account to the tenants for the security deposits in accordance with the leases for
                  the Property.
             (2) Except as stated in Paragraph 4(1), after this agreement ends, Broker will deliver to Owner or the
                  Owner's designee the security deposit held by Broker under an effective lease of the Property,
                  less deductions authorized by this agreement, and will send written notice to the tenant that states
                  all of the following:
                  (a) that this agreement has ended;
                  (b) the exact dollar amount of the security deposit;
                  (c) the contact information for the Owner or the Owner's designee; and
                  (d) that Owner is responsible for accounting for and returning the tenant's security deposit.
             (3) If Broker complies with this Paragraph 4C, Owner will indemnify Broker from any claim or loss
                  from a tenant for the return of a security deposit. This Paragraph 4C survives termination of this
                  agreement.

          D. Deductions and Offset: Broker may disburse from any funds Broker holds in a trust account for Owner:
             (1) any compensation due Broker under this agreement;
             (2) any funds Broker is authorized to expend under this agreement; and
             (3) any reimbursement Broker is entitled to receive under this agreement.

          E. Insurance and Attorneys:
             (1) Broker may not file a claim for a casualty loss with the carrier insuring the Property. Broker may
                 communicate with the carrier to facilitate the processing of any claim Owner may file or other
                 matters that Owner instructs Broker to communicate to the carrier.
             (2) Broker may not directly or indirectly employ or pay a lawyer to represent Owner. Broker may
                 communicate with Owner's attorney in accordance with Owner's instructions.

          F. Information about Trust Accounts, MLS, and Keybox:


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             (1) Trust Accounts: A trust account must be separate from Broker's operating account and must be
                 designated as a trust, property management, or escrow account or other similar name. Broker
                 may maintain one trust account for all properties Broker leases and manages for others.
             (2) MLS: MLS rules require Broker to accurately and timely submit all information the MLS requires
                 for participation including leased data. Subscribers to the MLS may use the information for market
                 evaluation or appraisal purposes. Subscribers are other brokers and other real estate
                 professionals such as appraisers and may include the appraisal district. Any information filed with
                 the MLS becomes the property of the MLS for all purposes. Submission of information to MLS
                 ensures that persons who use and benefit from the MLS also contribute information.
             (3) Keybox: A keybox is a locked container placed on the Property that holds a key to the Property. A
                 keybox makes it more convenient for brokers, their associates, inspectors, appraisers, and
                 contractors to show, inspect, or repair the Property. The keybox is opened by a special
                 combination, key, or programmed device, so that authorized persons may enter the Property.
                 Using a keybox will probably increase the number of showings, but involves risks (for example,
                 unauthorized entry, theft, property damage, or personal injury). Neither the Association of
                 REAL TORS® nor MLS requires the use of a keybox.
         G. Performance Standard: Broker will:
            (1) use reasonable care when exercising Broker's authority and performing under this agreement; and
            (2) exercise discretion when performing under this agreement in a manner that Broker believes to be
                in Owner's interest, provided that Broker will treat any tenant honestly and fairly.
         H. Inability to Contact Owner: If Broker is unable to contact Owner for   14    days, Broker is authorized
            to contact the person below for the sole purpose of attempting to reestablish contact with Owner.
                  Name: -_________________________________________________________
                  Address: - - - - - - - - - - - - - - - - - - - Phone: _ _ _ _ _ _ _ _ ___
                  E-mail: _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ __

         I. Foreclosure: If Broker receives notice of the Owner's delinquency in the payment of: (1) any mortgage
            or other encumbrance secured by the Property; (2) property taxes; (3) property insurance; or (4)
            owners' association fees, Broker may give Owner 15 days to cure the delinquency during which period
            Owner authorizes Broker to freeze any funds held by Broker and no disbursements will be made to
            Owner related to this agreement or the Property. If after the 15 day period, the delinquency is not cured
            and the foreclosure process is initiated, Owner authorizes Broker to deduct from any other funds being
            held by Broker for Owner any remaining Broker Fees or funds due to Broker related to services
            performed under this agreement. Additionally, Owner authorizes Broker to return any security deposit
            being held by Broker to a tenant of the Property in addition to any prorated amount of rent being held
            by Broker and Broker may terminate this agreement. This paragraph does not preclude the Broker from
            seeking any other remedies under this agreement or at law that may be available to the Broker.
    5.   LEGAL COMPLIANCE: The parties will comply with all obligations, duties, and responsibilities under the
         Texas Property Code, fair housing laws, and any other statute, administrative rule, ordinance, or
         restrictive covenant applicable to the use, leasing, management, or care of the Property.
    6.   RESERVES: Upon execution of this agreement, Owner will deposit the following amount with Broker to be
         held in a trust account as a reserve for Owner: $N/ A                     for each unit within the Property
         or Properties managed by Broker under this agreement. Broker may, at Broker's discretion, use the
         reserve to pay any expense related to the leasing and management of the Property(ies) (including but not
         limited to Broker's fees). If the balance of the reserve becomes less than the amount stated, at any time,
         Broker may: (a) deduct an amount that will bring the balance to the amount stated from any subsequent
         rent received on behalf of Owner and deposit the amount into the reserve; or (b) notify Owner that Owner
         must promptly deposit additional funds with Broker to p[ing the balance to the amount stated.

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    7.   ADVANCES : Owner will, in advance, provide Broker all funds necessary for the leasing and management
         of the Property. Broker is not obligated to advance any money to Owner or to any other person.
    8.   OWNER'S REPRESENTATIONS:
         A. General:
            (1) Except as disclosed in Paragraph 20, Owner represents that:
                (a) Owner has fee simple title to and peaceable possession of the Property and all its
                    improvements and fixtures, unless rented, and the legal capacity to lease the Property;
                (b) Owner is not bound by: (i) another agreement with another broker for the sale, exchange,
                    lease, or management of the Property that is or will be in effect during this agreement; or (ii)
                    an agreement or covenant that prohibits owner from leasing the property;
                (c) no person or entity has any right to purchase, lease, or acquire the Property by an option,
                    right of refusal, or other agreement;
                (d) Owner is not delinquent in the payment of any property taxes, owners' association fees,
                    property insurance, mortgage, or any encumbrance on or affecting the Property;
                (e) the Property is not subject to the jurisdiction of any court;
                (f) the optional user fees for the use of common areas (for example, pool or tennis courts) in the
                     Property's subdivision are:    a                                                          ; and
                (g) all information related to the Property that Owner provides to Broker is true and correct to the
                    best of Owner's knowledge.
              (2) Broker may disclose to a tenant or to a prospective tenant any information related to the
                  representations made in this Paragraph 8.
         B. Property Condition: Owner and Broker are obligated under law to disclose to a tenant or to a
            prospective tenant any known condition that materially and adversely affects the health or safety of an
            ordinary tenant. Owner is obligated under the Property Code to repair any such condition for a tenant.
            Owner represents that:
            ( 1) any pool or spa and any required enclosures, fences, gates, and latches comply with all
                 applicable laws and ordinances; and
            (2) Owner is not aware of a condition concerning the Property that materially affects the health or
                 safety of an ordinary tenant, except as stated below, in this agreement, or in any addendum:
                   none



         C. Lead-Based Paint: If the Property was built before 1978, Owner will complete and attach to this
            agreement an addendum regarding lead-based paint and lead-based paint hazards that will be made
            part of any lease of the Property. If the Property was built before 1978, federal law requires the Owner
            (before a tenant is obligated under a lease) to: (1) provide the tenant with the federally approved
            pamphlet on lead poisoning prevention; (2) disclose the presence of any known lead-based paint or
            hazards in the Property; and (3) deliver all records and reports to the tenant related to such paint or
            hazards.
   9.    OWNER'S COOPERATION: Owner agrees to :
         A. cooperate with Broker to facilitate the showing, marketing, and lease of the Property;
         B. not rent or lease the Property to anyone without Broker's prior written approval;
         C. not negotiate with any prospective tenant who might contact Owner directly, but refer all prospective
            tenants to Broker;
         D. not deal with or negotiate with any tenant in the Property concerning any matter related to the
            management or leasing of the Property but refer all such dealings to Broker;
         E. not enter into a listing agreement or property management agreement with another broker for the
            rental, leasing, or management of the Property to become effective during this agreement;
         F. provide Broker with copies of any existing leases or rental agreements related to the Property;
         G. provide Broker with keys and access devices to th~Property;

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         H. provide Broker with copies of all warranties related to the Property or any item in the Property;
         I. tender to Broker any security deposits paid by any existing tenants in the Property;
         J. complete any disclosures or notices required by law or a lease of the Property;
         K. amend applicable notices and disclosures if any material change occurs during this agreement; and
         L. notify Broker if Owner becomes delinquent in the payment of: (1) any mortgage or other encumbrance
            secured by the Property; (2) property taxes; (3) property insurance; or (4) owners' association fees.

    10. INSURANCE:
         A. At all times during this agreement, Owner must maintain in effect:
            (1) a public liability insurance policy that names Broker as a co-insured or additional insured and
                 covers losses related to the Property in an amount of not less than$ 500 , ooo. oo            on
                 an occurrence basis; and
            (2) an insurance policy for the Property in an amount equal to the reasonable replacement cost of the
                 Property's improvements and that contains endorsements which contemplate the leasing of the
                 Property with vacancies between lease terms.

         B. Not later than the 15th day after the Commencement Date, Owner must deliver to Broker copies of
            certificates of insurance evidencing the coverage required under Paragraph 1 OA. If the coverage
            changes at any time during this agreement, Owner must deliver to Broker a copy of the insurance
            certificate evidencing the change not later than 10 days after the change.

         C. If Owner fails to comply with Paragraphs 1OA or 1 OB, Broker may:
            (1) purchase insurance that will provide Broker the same coverage as the required insurance under
                 Paragraph 1OA( 1) and Owner must promptly reimburse Broker for such expense; or
            (2) exercise Broker's remedies under Paragraph 17.

    11. BROKER'S FEES: All fees to Broker under this agreement are payable in                Montq omen
        County, Texas. This Paragraph 11 survives termination or expiration of this agreement with regard to fees
        earned during this agreement which are not payable until after its termination. Broker may deduct any fees
        under this Paragraph 11 from any funds Broker holds in trust for Owner. If more than one property or unit
        is made part of and subject to this agreement. each of the provisions below will apply to each property or
        unit separately.
    1!1 A. Management Fees: Each month Owner will pay Broker the greater of $                           (minimum
             management fee) or: (Check one box only.)
         0 (1)               %of the gross monthly rents collected that month.
         !!I (2) $ 100. 00 p er month , flat fee                                                                .
             A vacancy in the Property or failure by a tenant to pay rent does not excuse payment of the minimum
             management fee. Management fees under this Paragraph 11 A are earned daily and are payable not
             later than the last day of each month.

    1!1 B. Leasing Fees for New Tenancies: Each time the Property is leased to a new tenant, Owner will pay
              Broker a leasing fee equal to: (Check one box only.)
         0 (1)    100. ooo %of one full month's rent to be paid under the lease.
         0 (2)               %of the gross rents to be paid under the lease.
         0 (3)
              The leasing fees under this Paragraph 11B are earned and payable at the time the lease is executed.

    1!1 C. Renewal or Extension Fees: Each time a tenant in the Property renews or extends a lease, Owner will
              pay Broker a renewal or extension fee equal to: (Check one box only.)
         0 (1)            %of one full month's rent to be paid under the renewal or extension.
         0 (2}            % of the gross rents to be paid under the renewal or extension.
         (!) (3) $ 200.00 for each lease renewal                                                             .
              The renewal or extension fees under this Paragraph 11 C are earned and payable at the time the
              renewal or extension is effective. For the purposes of this paragraph, a new lease for the same

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              Property with the same tenant then occupying the Property is an extension or renewal. This Paragraph
              11 C does not apply to month-to-month renewals or month-to-month extensions.
    0     D. Service Fees: Each time Broker arranges for the Property to be repaired, maintained, redecorated, or
              altered as permitted by this agreement, Owner will pay Broker a service fee equal to: (Check one box
              only.)
          1!1 (1) 10. ooo %of the total cost of each repair, maintenance, alteration, or redecoration.
          0 (2)
              The service fees under this Paragraph 11 D are earned at the time the repair, maintenance,
              redecoration, or alteration is made and are payable upon Owner's receipt of Broker's invoice.
    (!)   E. Interest on Trust Accounts: Any trust account Broker maintains under this agreement may be an
             interest-bearing or income producing account. Broker may retain any interest or income from such
             account as compensation under this agreement. Broker will remove any interest or income payable
             under this Paragraph 11 E from the trust account not later than the 30th day after the interest or
             income is paid.
    l.!l F. Administrative Fees: If Broker collects administrative charges from tenants or prospective tenants,
              including but not limited to, application fees, returned check fees, or late charges (as authorized under
              Paragraph 4A), Broker will retain such fees as compensation under this agreement. The administrative
              fees under this Paragraph 11 Fare earned and payable at the time Broker collects such fees.
    1!1 G. Fees Related to Insurance and Legal Matters: If Owner requests or instructs Broker to coordinate or
              communicate with any insurance carrier regarding any casualty to or on the Property or if Owner
              requests or instructs Broker to appear in any legal proceeding or deposition related to the Property
              (including, but not limited to, evictions, tenant disputes, security deposit disputes, and suits for
              damages), Owner will pay Broker $ 30. oo                 per   hour    for Broker's time expended in
              such matters and in preparation of such matters. Fees under this Paragraph 11 G are earned at the
              time the services are rendered and payable upon Owner's receipt of Broker's invoice.
    (!)   H. Fees in the Event of a Sale:
              (1) Fee if a Tenant Purchases Property: If at any time during this agreement or within          days
                  after it ends, Owner sells the Property to a tenant who occupied the Property during the term of
                  this agreement, Owner will pay Broker a fee equal to: (Check one box only.)
              (!) (a)    6. ooo %of the sales price.
              0   (b)                                                                                              .
                  Fees under this Paragraph 11 H(1) are earned at the time Owner agrees to sell the Property and
                  are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                  time the sale closes.
              (2) Fee if Buyer is Procured through Broker: If during this agreement, Owner agrees to sell the
                  Property to a person other than a tenant who occupied the Property and Broker procures the
                  buyer, directly or through another broker, Owner will pay Broker a fee equal to: (Check one box
                  only.)
              1!1 (a) 6. ooo %of the sales price.
              0   (b)
                  Fees under this Paragraph 11 H(2) are earned at the time Owner agrees to sell the Property and
                  are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                  time the sale closes.
              (3) Sale Coordination Fees: If at any time during this agreement Owner agrees to sell the Property
                  and Broker is not paid a fee under Paragraph 11 H(1) or (2), Owner will pay Broker =50=0~--­
                  - - - - - - - - - - - for Broker's time and services to coordinate showings, inspections,
                  appraisals, repairs, and other related matters. Fees under this Paragraph 11 H(3) are earned at
                  the time such services are rendered and payable upon Owner's receipt of Broker's invoice.
              (4) Definition: "Sell" means to agree to sell, convey, transfer or exchange any interest in the Property
                  whether by oral or written agreement or optio11,5

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              (5) Separate Listing Agreement Controls: If Owner sells the Property and pays Broker the fee under a
                  separate written listing agreement between Owner and Broker: (a) this Paragraph 11 H will not
                  apply; and (b) Broker will waive any fees due under Paragraph 12 at the time the sale closes.
    0    I.   Other: ----------------------------------------------- - - --                                                    --------



    12. FEES UPON TERMINATION: At the time this agreement ends, Owner must pay Broker:
        A. all amounts due Broker under this agreement; and
        B. if the Property is leased to a tenant on the date this agreement ends and ,Owner terminates this
            agreement, an amount equal to the lesser of:
            (a) the management fees that would accrue over the remainder of the term of the lease; or
            (b) ~!!2M..___ .·----~---- .
        If more than one property or unit is made part of and subject to this agreement, this paragraph applies
        only to those properties or units then leased and applies to each property or unit separately.
    13. EXPENSE REIMBURSEMENT: Upon Owner's receipt of Broker's invoice, Owner will reimburse Broker
        the following expenses that are related to the leasing or management of the Property: (a) copy charges;
        (b) charges for long distance telephone calls or facsimile transmissions; (c) regular, express, or certified
        mail charges; (d) notary fees; (e) photos and videos; (f) reasonable travel expenses, including but not
        limited to mileage reimbursement (at the standard mileage rate published by the IRS), parking expenses,
        and tolls; and (g) any other expenditures Broker is authorized to make under this agreement for Owner or
        that Owner otherwise authorizes Broker to make for Owner.
    14. FUNDS RECEIVED AFTER TERMINATION: Except as provided in Paragraph 4(1), if Broker receives any
        funds on behalf of Owner after this agreement ends (for example, rent, damages, past due amounts, and
        others), Broker will deposit those funds in Broker's trust account and will: (a) pay 5. ooo  %of the
        funds received to Broker as compensation for services (for example, research, accounting,
        communicating, and processing) rendered at that time; and (b) pay the balance of the funds to Owner.
        This provision survives termination of this agreement.
    15. COOPERATION WITH OTHER BROKERS: When the Property is marketed for lease, Broker will allow
        other brokers to show the Property to prospective tenants. If the other broker procures a tenant who
        leases the Property, Broker will offer to pay the other broker a fee out of the compensation Broker
        receives under Paragraph 11. As of the date this agreement is signed, Broker's policy is to offer other
        brokers the following amounts. Broker may change the amounts disclosed below without notice, provided
        that Broker will offer competitively reasonable amounts to other brokers.
         A. MLS Participants: If the other broker is a participant in the MLS in which the listing is filed, Broker will
            offer to pay the other broker:
              (1) if the other broker represents the tenant (complete only one): 50. ooo %of one month's rent to
                  be paid under a lease;            %of all rents to be paid under a lease; or$                 ;
                  and
              (2) if the other broker is a subagent (complete only one): 50. ooo %of one month's rent to be paid
                  under a lease;             %of all rents to be paid under a lease; or$ _ _ _ _ _ _ __
         B. Non-MLS Brokers: If the other broker is not a participant in the MLS in which the listing is filed, Broker
            will offer to pay the other broker:
              (1) if the other broker represents the tenant (complete only one): 50. ooo %of one month's rent to
                  be paid under a lease;            %of all rents to be paid under a lease; or$ _ _ _ _ _ __
                  and
              (2) if the other broker is a subagent (complete only one): 50. ooo %of one month's rent to be paid
                  under a lease;             %of all rents to be paid under a lease; or$ _ _ _ _ _ _ __


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    16. LIABILITY AND INDEMNIFICATION:

         A. Broker is not responsible or liable in any manner for personal injury to any person or for loss
            or damage to any person's real or personal property resulting from any act or omission not
            caused by Broker's negligence, including but not limited to injuries or damages caused by:
            (1) other brokers, their associates, inspectors, appraisers, and contractors who are authorized
                to access the Property;
            (2) acts of third parties (for example, vandalism, theft, or other criminal acts);
            (3) freezing or leaking water pipes;
            (4) failure to properly water the foundation of the Property;
            (5) a dangerous condition or environmental condition on the Property; or
            (6) the Property's non-compliance with any law or ordinance.

         B. Broker is not responsible or liable in any manner for:
            (1) any late fees or other charges Owner incurs to any creditor caused by late or insufficient
                payments by any tenant in the Property; or
            (2) damages to Owner caused by a tenant's breach of a lease.

         C. OWner agrees to protect, defend, Indemnify, and hold Broker harmless from any damage,
            costs, attorney's fees, and expenses that:
            (1) are caused by Owner, negligently or otherwise;
            (2) arise from Owner's failure to disclose any material or relevant information about the
                Property;
            (3) are caused by Owner giving incorrect information to any person; or
            (4) are related to the management of the Property and are not caused by Broker, negligently or
                otherwise.

         D. Owner is responsible and liable for all contracts and obligations related to the Property (for
            example, maintenance, service, repair and utility agreements) entered into before or during this
            agreement by Owner or by Broker under Broker's authority under this agreement. Owner
            agrees to hold Broker harmless from all claims related to any such contracts.

    17. DEFAULT: A party is in default if the party fails to cure a breach within 10 days after receipt of written
        demand from the other party. If either party is in default, the non-defaulting party may: (a) terminate this
        agreement by providing at least 10 days written notice; (b) recover all amounts due to the non-defaulting
        party under this agreement; (c) recover reasonable collection costs and attorney's fees; and (d) exercise
        any other remedy available at law. Broker is also entitled to recover any compensation Broker would have
        been entitled to receive if Owner did not breach this agreement.

    18. MEDIATION: The parties agree to negotiate in good faith in an effort to resolve any dispute related to this
        agreement that may arise between the parties. If the dispute cannot be resolved by negotiation, the
        dispute wlill be submitted to mediation. The parties to the dispute will choose a mutually acceptable
        mediator and will share the cost of mediation equally.

    19. ATTORNEY'S FEES: If Owner or Broker is a prevailing party in any legal proceeding brought as a result
        of a dispute under this agreement or any transaction related to or contemplated by this agreement, such
        party will be entitled to recover from the non-prevailing party all costs of such proceeding and reasonable
        attorney's fees.

    20. SPECIAL PROVISIONS:




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    21. ADDENDA: Incorporated into this agreement are the following addenda, exhibits, and other information:
    Ql  A. Information About Brokerage Services
    0 B. Addendum Regarding Lead-Based Paint
    0 C. Multiple Property Addendum
    0 D. Owner's Notice Concerning Condition of Property under Property Management Agreement
    0   E. Property Manager's Inventory and Condition Report
    0   F. Addendum for Authorization to Act for Owner before Owners' Association
    0 G. Copy of Rules and Regulations of an Owners' Association
    0 H. Copy of the Owners' Association Bylaws and Deed Restrictions affecting the Property
    0 I.
          Note: Complete and deliver to Broker IRS W-9 Form or similar form. Broker maintains a privacy policy that
          is available upon request.
    22. AGREEMENT OF PARTIES:
          A. Entire Agreement: This document contains the entire agreement of the parties and may not be
             changed except by written agreement.
          B. Assignments: Neither party may assign this agreement without the written consent of the other party.
          C. Binding Effect: Owner's obligation to pay Broker an earned fee is binding upon Owner and Owner's
             heirs, administrators, executors, successors, and permitted assignees.
          D. Joint and Several: All Owners executing this agreement are jointly and severally liable for the
             performance of all its terms. Any act or notice to, refund to, or signature of, any one or more of the
             Owners regarding any term of this agreement, its extension, its renewal, or its termination is binding
             on all Owners executing this agreement.
          E. Governing Law: Texas law governs the interpretation, validity, performance, and enforcement of this
             agreement.
          F. Severability: If a court finds any clause in this agreement invalid or unenforceable, the remainder of
             this agreement will not be affected and all other provisions of this agreement will remain valid and
             enforceable.
          G. Context: When the context requires, singular nouns and pronouns include the plural.
          H. Notices: Notices between the parties must be in writing and are effective when sent to the receiving
             party's address, fax, or e-mail address specified in Paragraph 1.
          I.   Copyright: If an active REALTOR® member of the Texas Association of REALTORS® does not
               negotiate this agreement as a party or for one of the parties, with or without the assistance of an active
               member of the State Bar of Texas, this agreement is voidable at will by Owner.
    23. INFORMATION:
          A. Broker's fees or the sharing of fees between brokers are not fixed, controlled, recommended,
             suggested, or maintained by the Association of REALTORS®, MLS, or any listing service.
          B. In accordance with fair housing laws and the National Association of REALTORS® Code of
             Ethics, Broker's services must be provided and the Property must be shown and made
             available to all persons without regard to race, color, religion, national origin, sex, disability,
             familial status, sexual orientation, or gender identity. Local ordinances may provide for
             additional protected classes (for example, creed, status as a student, marital status, or age).
          C. Owner may review the information Broker submits to an MLS or other listing service.

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         D. Broker advises Owner to remove or secure jewelry, prescription drugs, and other valuables.

         E. The Property Code requires the Property to be equipped with certain types of locks and
            security devices, including (with some exceptions): (1) window latches on each window; (2) a
            keyed doorknob lock or keyed deadbolt lock on each exterior door; (3) a sliding door pin lock
            on each exterior sliding glass door of the dwelling; (4) a sliding door handle latch or a sliding
            door security bar on each exterior sliding glass door of the dwelling; and (5) a keyless bolting
            device and a door viewer on each exterior door of the dwelling. The Property Code also
            requires smoke alarms in certain locations. The Property Code requires the security devices to
            be rekeyed and the smoke alarms to be tested each time a new tenant occupies the Property.

         F. Broker cannot give legal advice. READ THIS AGREEMENT CAREFULLY. If you do not
            understand the effect of this agreement, consult an attorney BEFORE signing.

    Blavesco , LTD                                                                 Jeff Fisher
                                                                                   Owner's Printed Name

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    Heather L Car1i1e                  (832 ) 850 . 4849
    Broker's Associate's Printed Name, if applicable                               Owner's Printed Name


                                                                                   Owner's Signature                                             Date




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                                                                                                     ~~
                                                                 TEXAS ASSOCIATION OF REALTORS®
                RESIDENTIAL LEASING AND PROPERTY MANAGEMENT AGREEMENT
                                   USE OF THIS FOAM BY PERSONS WHO ARE NOT MEMBERS OF THE TE XAS ASSOCIATION OF REALTORS® IS NOT AUTHORIZED.
                                                                                Cfeus Assoclallon ol REALTOR~. Inc. 2014


    1.      PARTIES:

            A. The parties to this agreement are:

                  Owneq Rei m• Holdings 1 LLC

                  Address: PO Box 9993
                  City, State, Zip: The Wood,lands TX 77387                      I


                  Hm. Phone:                         Wk. Ph: ..:.:<B~1:.::.6:..:)6:.=•.::.  6--=9~  s1::.::9;....__ _ _ _ M o b i l e : - - - - - - - -
                  Fax: ( 832 ) 381-37 68           E-Mail: ......~.
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                  Broker: Blavesco. LTD                                                                                                                                      Heather Carlile
                  Address: 25511 Budde Road ste 1501
                  City, State, Zip: The Woodlands , TX 77380
                  Phone: <3961 672-7671                                                                                             Fax: (832 ) BS0-4~849
                  E-Mail: heather<!blavesco. com

            B. If Owner is not an individual, Owner is a: 0 estate 0 corporation 131 limited liability company (LLC)
               0 trust 0 partnership 0 limited liability partnership (LLP) 0 other                            , which was
               chartered or created in           TEXAS           (State). The individual signing this agreement for the
               owner represents to Broker that he or she has the authority to bind Owner to this agreement, to act for
               Owner, and is acting under his capacity as                Director                  (title) for the Owner.

           C. Owner appoints Broker as Owner's sole and exclusive leasing and managing agent of the real
              property described in Paragraph 2 and in any addendum to this agreement.

   2.      PROPERTY: "Property" means:

           Address (include unit nos.) 6001 Reims , Houston                                                     I   TX        77036

           legally described as: . Units 204 1209 1301 1302 304 1301 , SOB , 1101 909 Of Silverfield      I                                         I

           Condominiums
           in                 Barris                  County, Texas, together with the following non-real-property
           items: Refridgerators Washer & Drver              1




           "Property" also includes any other Property described in any attached Multiple Property Addendum.

   3. TERM:

           A. Primary Term: The primary term of this agreement begins and ends as follows:

                  Commencement Date:                         --~
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           B. Automatic Extension: Unless either party provides written notice of termination to the other party at
              least 30 days before the Expiration Date, this agreement will automatically extend on a monthly basis
              until either party terminates by providing at least 30 days written notice tg the other party.
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         C. Effective Services: If Broker determines that Broker cannot continue to effectively provide leasing and
            management services to Owner for any reason at any time during this agreement Broker may
            terminate this agreement by providing at least 30 days written notice to Owner.

         D. Fees Upon Termination: At the time this agreement ends, Owner must pay Broker amounts specified
            in Paragraph 12.

    4.   AUTHORITY OF BROKER:

         A. Leasing and Management Authority: Owner grants to Broker the following authority which Broker may
            exercise when and to the extent Broker determines to be in Owner's interest:
            (1) advertise the Property for lease at Owner's expense by means and methods that Broker
                  determines are reasonably competitive, including but not limited to creating and placing
                  advertisements with interior and exterior photographic and audio-visual images of the Property
                  and related information in any media and the Internet;
            (2) place Nfor Lease" signs or other signs on the Property in accordance with applicable Jaws,
                  regulations, ordinances, restrictions, and owners' association rules;
            (3) remove all other signs offering the Property for sale or lease;
            (4) submit the Property as a listing with one or more Multiple Listing Services (MLS) at any time the
                  Property is marketed for lease and to change or terminate such listings;
            (5) authorize other brokers, their associates, inspectors, appraisers, and contractors to access the
                  Property at reasonable times for purposes contemplated by this agreement and to lend keys and
                  disclose security codes to such persons to enter the Property;
            (6) duplicate keys and access devices, at Owner's expense, to facilitate convenient and efficient
                  showings of the Property and to lease the Property;
            (7} place a keybox on the Property;
            (8} employ scheduling companies to schedule showings by other brokers at any time the Property is
                  marketed for lease;
            (9} verify information and references in rental applications from prospective tenants;
            (1 O) negotiate and execute leases on Owner's behalf for the Property at market rates and on
                  competitively reasonable terms for initial terms of not less than     12     months and not more
                  than     36      months and in accordance with any instructions in Paragraph 20;
            (11} negotiate and execute any amendments , extensions, or renewals to any leases for the Property
                  on Owner's behalf;
            (12} terminate leases for the Property, negotiate lease terminations, and serve notices of termination;
            (13} collect and deposit for Owner rents, security deposits, and other funds related to the Property in a
                  trust account and pay from that account: (a) any compensation and reimbursements due Broker
                  under this agreement; and (b) other persons as this agreement may authorize.
            (14) account for security deposits that Broker holds in trust to any tenants in the Property in
                  accordance with applicable law, this agreement, and any lease of the Property and make
                  deductions from the deposits in accordance with the lease and applicable law;
            (15) collect administrative charges including but not limited to, application fees, returned check fees,
                  and late charges from tenants in the Property or from prospective tenants;
            (16) institute and prosecute, at Owner's expense, actions to: (a) evict tenants in the Property; (b)
                  recover possession of the Property; or (c) recover lost rent and other damages;
            (17) settle, compromise, or withdraw any action described in Paragraph 4A(16);
            ( 18) negotiate and make reasonable concessions to tenants or former tenants in the Property;
            ( 19) report payment histories of tenants in the Property to consumer reporting agencies;
            (20) obtain information from any holder of a note secured by a lien on the Property and any insurance
                  company insuring all or part of the Property;


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              (21) hire contractors to repair, maintain, redecorate, or alter the Property provided that Broker does
                   not expend more than$ 150. oo                              for any single repair, maintenance item,
                   redecoration, or alteration without Owner's consent;
              (22) hire contractors to make emergency repairs to the Property without regard to the expense limita·
                   tion in Paragraph 4A(21) that Broker determines are necessary to protect the Property or the
                   health or safety of an ordinary tenant;
              (23) contract, at Owner's expense, in either Broker's or Owner's name, for utilities and maintenance
                   to the Property during times that the Property is vacant, including but not limited to, electricity,
                   gas, water, alarm monitoring, cleaning, pool and spa maintenance, yard maintenance, and other
                   regularly recurring expenses that Broker determines are reasonable to maintain and care for the
                   Property; and
              (24) perform other necessary services related to the leasing and management of the Property.

         B.   Record Keeping: Broker will:
              (1) maintain accurate records related to the Property and retain such records for not less than 4
                  years;
              (2) file reports with the Internal Revenue Service related to funds received on behalf of Owner under
                  this agreement (for example, Form 1099); and
              (3) remit, each month, the following items to Owner: (a) funds collected by Broker for Owner under
                  this agreement, less authorized deductions; and (b) a statement of receipts, disbursements, and
                  charges. Owner may instruct Broker in writing to remit the items to another person or address.

         C. Security Deposits:
            (1) During this agreement, Broker will maintain security deposits received from tenants in a trust
                account and will account to the tenants for the security deposits in accordance with the leases for
                the Property.
            (2) Except as stated in Paragraph 4(/), after this agreement ends, Broker will deliver to Owner or the
                Owner's designee the security deposit held by Broker under an effective lease of the Property,
                less deductions authorized by this agreement, and will send written notice to the tenant that states
                all of the following:
                (a) that this agreement has ended;
                (b) the exact dollar amount of the security deposit;
                (c) the contact information for the Owner or the Owner's designee; and
                (d) that Owner is responsible for accounting for and returning the tenant's security deposit.
            (3) If Broker complies with this Paragraph 4C, Owner will indemnify Broker from any claim or loss
                from a tenant for the return of a security deposit. This Paragraph 4C survives termination of this
                agreement.

         D. Deductions and Offset: Broker may disburse from any funds Broker holds in a trust account for Owner:
            (1) any compensation due Broker under this agreement;
            (2) any funds Broker is authorized to expend under this agreement; and
            (3) any reimbursement Broker is entitled to receive under this agreement.

        E. Insurance and Attorneys:
           ( 1) Broker may not file a claim for a casualty loss with the carrier insuring the Property. Broker may
                communicate with the carrier to facilitate the processing of any claim Owner may file or other
                matters that Owner instructs Broker to communicate to the carrier.
           (2) Broker may not directly or indirectly employ or pay a lawyer to represent Owner. Broker may
                communicate with Owner's attorney in accordance with Owner's instructions.

        F. Information about Trust Accounts. MLS, and Keybox:


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              (1) Trust Accounts: A trust account must be separate from Broker's operating account and must be
                  designated as a trust, property management, or escrow account or other similar name. Broker
                  may maintain one trust account for all properties Broker leases and manages for others.
              (2) MLS: MLS rules require Broker to accurately and timely submit all information the MLS requires
                  for participation including leased data. Subscribers to the MLS may use the information for market
                  evaluation or appraisal purposes. Subscribers are other brokers and other real estate
                  professionals such as appraisers and may include the appraisal district. Any information filed with
                  the MLS becomes the property of the MLS for all purposes. Submission of information to MLS
                  ensures that persons who use and benefit from the MLS also contribute information.
              (3) Keybox: A keybox is a locked container placed on the Property that holds a key to the Property. A
                   keybox makes it more convenient for brokers, their associates, inspectors, appraisers, and
                   contractors to show, inspect, or repair the Property. The keybox is opened by a special
                   combination, key, or programmed device, so that authorized persons may enter the Property.
                   Using a keybox will probably increase the number of showings, but involves risks (for example,
                   unauthorized entry, theft, property damage, or personal injury). Neither the Association of
                   REAL TORS® nor MLS requires the use of a keybox.
          G. Performance Standard: Broker will :
              (1) use reasonable care when exercising Broker's authority and performing under this agreement; and
              (2) exercise discretion when performing under this agreement in a manner that Broker believes to be
                  in Owner's interest, provided that Broker will treat any tenant honestly and fairly.
          H. Inability to Contact Owner: If Broker is unable to contact Owner for   14    days, Broker is authorized
             to contact the person below for the sole purpose of attempting to reestablish contact with Owner.
                    Name:                           James Ravmond Fisher                Phone: (936) 239-1976
                    Address:                           11 Coralvine Court The Woodlands , TX 77380
                    E-mail:                                     iay . fisher@blavesco . com

          I. Foreclosure: If Broker receives notice of the Owner's delinquency in the payment of: (1) any mortgage
             or other encumbrance secured by the Property; (2) property taxes ; (3) property insurance; or (4)
             owners' association fees, Broker may give Owner 15 days to cure the delinquency during which period
             Owner authorizes Broker to freeze any funds held by Broker and no disbursements will be made to
             Owner related to this agreement or the Property. If after the 15 day period, the delinquency is not cured
             and the foreclosure process is initiated, Owner authorizes Broker to deduct from any other funds being
             held by Broker for Owner any remaining Broker Fees or funds due to Broker related to services
             performed under this agreement. Additionally, Owner authorizes Broker to return any security deposit
             being held by Broker to a tenant of the Property in addition to any prorated amount of rent being held
             by Broker and Broker may terminate this agreement. This paragraph does not preclude the Broker from
             seeking any other remedies under this agreement or at law that may be available to the Broker.
     5.   LEGAL COMPLIANCE: The parties will comply with all obligations, duties, and responsibilities under the
          Texas Property Code, fair housing laws, and any other statute, administrative rule, ordinance, or
          restrictive covenant applicable to the use, leasing, management, or care of the Property.
    6.    RESERVES: Upon execution of this agreement, Owner will deposit the following amount with Broker to be
          held in a trust account as a reserve for Owner: $ 250. oo                 for each unit within the Property
          or Properties managed by Broker under this agreement. Broker may, at Broker's discretion, use the
          reserve to pay any expense related to the leasing and management of the Property(ies) (including but not
          limited to Broker's fees). If the balance of the reserve becomes less than the amount stated , at any time,
          Broker may: (a) deduct an amount that will bring the balance to the amount stated from any subsequent
          rent received on behalf of Owner and deposit the amount into the reserve; or (b) notify Owner that Owner
          must promptly deposit additional funds with Broker t~g the balance f':~ amount stated.

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    7.   ADVANCES: Owner will, in advance, provide Broker all funds necessary for the leasing and management
         of the Property. Broker is not obligated to advance any money to Owner or to any other person.
    8.   OWNER'S REPRESENTATIONS:
         A. General:
            (1) Except as disclosed in Paragraph 20, Owner represents that:
                (a) Owner has fee simple title to and peaceable possession of the Property and all its
                     improvements and fixtures, unless rented, and the legal capacity to lease the Property;
                (b) Owner is not bound by: (i) another agreement with another broker for the sale, exchange,
                     lease, or management of the Property that is or will be in effect during this agreement; or (ii)
                     an agreement or covenant that prohibits owner from leasing the property;
                (c) no person or entity has any right to purchase, lease, or acquire the Property by an option,
                     right of refusal, or other agreement;
                (d) Owner is not delinquent in the payment of any property taxes, owners' association fees,
                     property insurance, mortgage, or any encumbrance on or affecting the Property;
                (e) the Property is not subject to the jurisdiction of any court;
                (f) the optional user fees for the use of common areas (for example, pool or tennis courts) in the
                     Property's subdivision are: n a                                                           ; and
                (g) all information related to the Property that Owner provides to Broker is true and correct to the
                    best of Owner's knowledge.
              (2) Broker may disclose to a tenant or to a prospective tenant any information related to the
                  representations made in this Paragraph 8.
         B. Property Condition: Owner and Broker are obligated under law to disclose to a tenant or to a
            prospective tenant any known condition that materially and adversely affects the health or safety of an
            ordinary tenant. Owner is obligated under the Property Code to repair any such condition for a tenant.
            Owner represents that:
            (1) any pool or spa and any required enclosures, fences, gates, and latches comply with all
                 applicable laws and ordinances; and
            (2) Owner is not aware of a condition concerning the Property that materially affects the health or
                 safety of an ordinary tenant, except as stated below, in this agreement, or in any addendum:
                   none



         C. Lead-Based Paint: If the Property was built before 1978, Owner will complete and attach to this
            agreement an addendum regarding lead-based paint and lead-based paint hazards that will be made
            part of any lease of the Property. If the Property was built before 1978, federal law requires the Owner
            (before a tenant is obligated under a lease) to: (1) provide the tenant with the federally approved
            pamphlet on lead poisoning prevention; (2) disclose the presence of any known lead-based paint or
            hazards in the Property; and (3) deliver all records and reports to the tenant related to such paint or
            hazards.
   9.    OWNER'S COOPERATION: Owner agrees to :
         A. cooperate with Broker to facilitate the showing, marketing, and lease of the Property;
         B. not rent or lease the Property to anyone without Broker's prior written approval;
         C. not negotiate with any prospective tenant who might contact Owner directly, but refer all prospective
            tenants to Broker;
         D. not deal with or negotiate with any tenant in the Property concerning any matter related to the
            management or leasing of the Property but refer all such dealings to Broker;
         E. not enter into a listing agreement or property management agreement with another broker for the
            rental, leasing, or management of the Property to become effective during this agreement;
         F. provide Broker with copies of any existing leases or rental agreements related to the Property;
         G. provide Broker with keys and access devices to the froperty;             os
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          H. provide Broker with copies of all warranties related to the Property or any item in the Property;
          I. tender to Broker any security deposits paid by any existing tenants in the Property;
          J. complete any disclosures or notices required by law or a lease of the Property;
          K. amend applicable notices and disclosures if any material change occurs during this agreement; and
          L. notify Broker if Owner becomes delinquent in the payment of: (1) any mortgage or other encumbrance
             secured by the Property; (2) property taxes; (3) property insurance; or (4) owners' association fees.
    10. INSURANCE:
          A. At all times during this agreement, Owner must maintain in effect:
             (1) a public liability insurance policy that names Broker as a co-insured or additional insured and
                  covers losses related to the Property in an amount of not less than$ soo, ooo. oo             on
                  an occurrence basis; and
             (2) an insurance policy for the Property in an amount equal to the reasonable replacement cost of the
                  Property's improvements and that contains endorsements which contemplate the leasing of the
                  Property with vacancies between lease terms.

          B. Not later than the 15th day after the Commencement Date, Owner must deliver to Broker copies of
             certificates of insurance evidencing the coverage required under Paragraph 1OA. If the coverage
             changes at any time during this agreement, Owner must deliver to Broker a copy of the insurance
             certificate evidencing the change not later than 10 days after the change.
          C. If Owner fails to comply with Paragraphs 1OA or 1OB, Broker may:
             (1) purchase insurance that will provide Broker the same coverage as the required insurance under
                  Paragraph 1OA(1) and Owner must promptly reimburse Broker for such expense; or
             (2) exercise   Broker's remedies under Paragraph 17.

    11. BROKER'S FEES: All fees to Broker under this agreement are payable in                Montgomery
        County, Texas. This Paragraph 11 survives termination or expiration of this agreement with regard to fees
        earned during this agreement which are not payable until after its termination. Broker may deduct any fees
        under this Paragraph 11 from any funds Broker holds in trust for Owner. If more than one property or unit
        is made part of and subject to this agreement. each of the provisions below will apply to each property or
        unit separately.

    I!J A. Management Fees: Each month Owner will pay Broker the greater of $                              (minimum
                management     fee) or: (Check one box only.)
          I!J   (1)    s. ooo %of the gross monthly rents collected that month.
          0     (2)                                                                                                .
                A vacancy in the Property or failure by a tenant to pay rent does not excuse payment of the minimum
                management fee. Management fees under this Paragraph 11 A are earned daily and are payable not
                later than the last day of each month.

    I!J B. Leasing Fees for New Tenancies: Each time the Property is leased to a new tenant, Owner will pay
                Broker a leasing fee equal to: (Check one box only.)
          0 (1) 100. ooo %of one full month's rent to be paid under the lease.
          0 (2)           % of the gross rents to be paid under the lease.
          I!J (3) SO % paid to B1avesco if no outside agent
                The leasing fees under this Paragraph 11 8 are earned and payable at the time the lease is executed.

    I!J   C. Renewal or Extension Fees : Each time a tenant in the Property renews or extends a lease, Owner will
              pay Broker a renewal or extension fee equal to: (Check one box only.)
          0 (1)             %of one full month's rent to be paid under the renewal or extension.
          0 {2)             % of the gross rents to be paid under the renewal or extension.
          I!J (3) =1=50~------------------------------------------------------------------------­
              The renewal or extension fees under this Paragraph 11 C are earned and payable at the time the
                renewal or extension is effective. For the purpos£S of this parag~b, a new lease for the same

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             Property with the same tenant then occupying the Property is an extension or renewal. This Paragraph
             11 C does not apply to month-to-month renewals or month-to-month extensions.
    0    D. Service Fees: Each time Broker arranges for the Property to be repaired, maintained, redecorated, or
            altered as permitted by this agreement, Owner will pay Broker a service fee equal to: (Check one box
            only.)
         0 (1)            %of the total cost of each repair, maintenance, alteration, or redecoration.
         0 (2)
             The service fees under this Paragraph 11 D are earned at the time the repair, maintenance,
             redecoration, or alteration is made and are payable upon Owner's receipt of Broker's invoice.
    !XI E. Interest on Trust Accounts: Any trust account Broker maintains under this agreement may be an
             interest-bearing or income producing account. Broker may retain any interest or income from such
             account as compensation under this agreement. Broker will remove any interest or income payable
             under this Paragraph 11 E from the trust account not later than the 30th day after the interest or
             income is paid.
    !XI F. Administrative Fees: If Broker collects administrative charges from tenants or prospective tenants,
             including but not limited to, application fees , returned check fees, or late charges (as authorized under
             Paragraph 4A), Broker will retain such fees as compensation under this agreement. The administrative
             fees under this Paragraph 11 F are earned and payable at the time Broker collects such fees.
   [!)   G. Fees Related to Insurance and Legal Matters: If Owner requests or instructs Broker to coordinate or
            communicate with any insurance carrier regarding any casualty to or on the Property or if Owner
            requests or instructs Broker to appear in any legal proceeding or deposition related to the Property
            (including, but not limited to, evictions, tenant disputes, security deposit disputes, and suits for
            damages), Owner will pay Broker$ 30. oo                  per   hour    for Broker's time expended in
            such matters and in preparation of such matters. Fees under this Paragraph 11 G are earned at the
            time the services are rendered and payable upon Owner's receipt of Broker's invoice.
   !XI H. Fees in the Event of a Sale:
            (1) Fee if a Tenant Purchases Property: If at any time during this agreement or within          days
                after it ends, Owner sells the Property to a tenant who occupied the Property during the term of
                this agreement, Owner will pay Broker a fee equal to: (Check one box only.)
            0 (a) 3. ooo %of the sales price.
            0 (b)                                                                                                .
                Fees under this Paragraph 11 H(1) are earned at the time Owner agrees to sell the Property and
                are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                time the sale closes.
             (2) Fee if Buyer is Procured through Broker: If during this agreement, Owner agrees to sell the
                 Property to a person other than a tenant who occupied the Property and Broker procures the
                 buyer, directly or through another broker, Owner will pay Broker a fee equal to: (Check one box
                 only.)
            !XI (a) 3 . ooo %of the sales price.
            0    (b)
                 Fees under this Paragraph 11 H(2) are earned at the time Owner agrees to sell the Property and
                 are payable at the time the sale closes. Broker will waive any fees due under Paragraph 12 at the
                 time the sale closes.
             (3) Sale Coordination Fees: If at any time during this agreement Owner agrees to sell the Property
                 and Broker is not paid a fee under Paragraph 11 H(1) or (2), Owner will pay Broker .=.s=oo.:....._ __
                 - - - - - - - - - - - for Broker's time and services to coordinate showings, inspections,
                 appraisals, repairs, and other related matters. Fees under this Paragraph 11 H(3) are earned at
                 the time such services are rendered and payable upon Owner's receipt of Broker's invoice.
             (4) Definition: "Sell" means to agree to sell, convey, transfer or exchange any interest in the Property
                 whether by oral or written agreement or opti~~s                     os

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              (5) Separate Listing Agreement Controls: If Owner sells the Property and pays Broker the fee under a
                  separate written listing agreement between Owner and Broker: (a) this Paragraph 11 H will not
                  apply; and (b) Broker will waive any fees due under Paragraph 12 at the time the sale closes.
    0    I.   Other: _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ __ _ _ __ _ __




    12. FEES UPON TERMINATION: At the time this agreement ends, Owner must pay Broker:
        A. all amounts due Broker under this agreement; and
        B. if the Property is leased to a tenant on the date this agreement ends and Owner terminates this
            agreement, an amount equal to the lesser of:
            (a) the management fees that would accrue over the remainder of the term of the lease; or
            (b) $none                                .
        If more than one property or unit is made part of and subject to this agreement, this paragraph applies
        only to those properties or units then leased and applies to each property or unit separately.
    13. EXPENSE REIMBURSEMENT: Upon Owner's receipt of Broker's invoice, Owner will reimburse Broker
        the following expenses that are related to the leasing or management of the Property: (a) copy charges;
        (b) charges for long distance telephone calls or facsimile transmissions; (c) regular, express, or certified
        mail charges; (d) notary fees; (e) photos and videos; (f) reasonable travel expenses, including but not
        limited to mileage reimbursement (at the standard mileage rate published by the IRS), parking expenses,
        and tolls; and (g) any other expenditures Broker is authorized to make under this agreement for Owner or
        that Owner otherwise authorizes Broker to make for Owner.
    14. FUNDS RECEIVED AFTER TERMINATION: Except as provided in Paragraph 4(1), if Broker receives any
        funds on behalf of Owner after this agreement ends (for example, rent, damages, past due amounts, and
        others), Broker will deposit those funds in Broker's trust account and will: (a) pay s. ooo  %of the
        funds received to Broker as compensation for services (for example, research, accounting,
        communicating, and processing) rendered at that time; and (b) pay the balance of the funds to Owner.
        This provision survives termination of this agreement.
    15. COOPERATION WITH OTHER BROKERS: When the Property is marketed for lease, Broker will allow
        other brokers to show the Property to prospective tenants. If the other broker procures a tenant who
        leases the Property, Broker will offer to pay the other broker a fee out of the compensation Broker
        receives under Paragraph 11. As of the date this agreement is signed, Broker's policy is to offer other
        brokers the following amounts. Broker may change the amounts disclosed below without notice, provided
        that Broker will offer competitively reasonable amounts to other brokers.
         A. MLS Participants: If the other broker is a participant in the MLS in which the listing is filed, Broker will
            offer to pay the other broker:
              (1) if the other broker represents the tenant (complete only one): 50. ooo %of one month's rent to
                  be paid under a lease;            % of all rents to be paid under a lease; or $ _ _ _ _ _ __
                  and
              (2) if the other broker is a subagent (complete only one):              %of one month's rent to be paid
                  under a lease;             %of all rents to be paid under a lease; or$ _ _ _ _ _ __
         B. Non-MLS Brokers: If the other broker is not a participant in the MLS in which the listing is filed, Broker
            will offer to pay the other broker:
              (1) if the other broker represents the tenant (complete only one): 50. ooo %of one month's rent to
                  be paid under a lease;             %of all rents to be paid under a lease; or$ _ _ _ _ _ __
                  and
              (2) if the other broker is a subagent (complete only one):              %of one month's rent to be paid
                  under a lease;             %of all rents to be paid under a lease; or$ _ _ _ _ _ _ __

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    16. LIABILITY AND INDEMNIFICATION:

         A. Broker is not responsible or liable in any manner for personal injury to any person or for loss
            or damage to any person's real or personal property resulting from any act or omission not
            caused by Broker's negligence, including but not limited to injuries or damages caused by:
            (1) other brokers, their associates, inspectors, appraisers, and contractors who are authorized
                to access the Property;
            (2) acts of third parties (for example, vandalism, theft, or other criminal acts);
            (3) freezing or leaking water pipes;
            (4) failure to properly water the foundation of the Property;
            (5) a dangerous condition or environmental condition on the Property; or
            (6) the Property's non-compliance with any law or ordinance.

         B. Broker is not responsible or liable in any manner for:
            (1) any late fees or other charges OWner incurs to any creditor caused by late or insufficient
                payments by any tenant in the Property; or
            (2) damages to Owner caused by a tenant's breach of a lease.

         C. Owner agrees to protect, defend, indemnify, and hold Broker harmless from any damage,
            costs, attorney's fees, and expenses that:
            (1) are caused by Owner, negligently or otherwise;
            (2) arise from Owner's failure to disclose any material or relevant Information about the
                Property;
            (3) are caused by Owner giving incorrect information to any person; or
            (4) are related to the management of the Property and are not caused by Broker, negligently or
                otherwise.

         D. Owner is responsible and liable for all contracts and obligations related to the Property (for
            example, maintenance, service, repair and utility agreements) entered into before or during this
            agreement by Owner or by Broker under Broker's authority under this agreement. Owner
            agrees to hold Broker harmless from all claims related to any such contracts.

    17. DEFAULT: A party is in default if the party fails to cure a breach within 10 days after receipt of written
        demand from the other party. If either party is in default, the non-defaulting party may: (a) terminate this
        agreement by providing at least 10 days written notice; (b) recover all amounts due to the non-defaulting
        party under this agreement; (c) recover reasonable collection costs and attorney's fees; and (d) exercise
        any other remedy available at law. Broker is also entitled to recover any compensation Broker would have
        been entitled to receive if Owner did not breach this agreement.

    18. MEDIATION: The parties agree to negotiate in good faith in an effort to resolve any dispute related to this
        agreement that may arise between the parties. If the dispute cannot be resolved by negotiation, the
        dispute will be submitted to mediation. The parties to the dispute will choose a mutually acceptable
        mediator and will share the cost of mediation equally.

   19. ATTORNEY'S FEES: If Owner or Broker is a prevailing party in any legal proceeding brought as a result
       of a dispute under this agreement or any transaction related to or contemplated by this agreement, such
       party will be entitled to recover from the non-prevailing party all costs of such proceeding and reasonable
       attorney's fees.

   20. SPECIAL PROVISIONS:




                                                                                                               "~
                                                                                  G_ Owner~
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    21.   ADDENDA: Incorporated into this agreement are the following addenda, exhibits, and other information:
    121   A. Information About Brokerage Services
    0     B. Addendum Regarding Lead-Based Paint
    0     C. Multiple Property Addendum
    0     D. Owner's Notice Concerning Condition of Property under Property Management Agreement
    0     E. Property Manager's Inventory and Condition Report
    0     F. Addendum for Authorization to Act for Owner before Owners' Association
    0     G. Copy of Rules and Regulations of an Owners' Association
    0     H. Copy of the Owners' Association Bylaws and Deed Restrictions affecting the Property
    0     I.

          Note: Complete and deliver to Broker IRS W-9 Form or similar form. Broker maintains a privacy policy that
          is available upon request.
    22. AGREEMENT OF PARTIES:
          A. Entire Agreement: This document contains the entire agreement of the parties and may not be
             changed except by written agreement.
          B. Assignments: Neither party may assign this agreement without the written consent of the other party.
          C. Binding Effect: Owner's obligation to pay Broker an earned fee is binding upon Owner and Owner's
             heirs, administrators, executors, successors, and permitted assignees.
          D. Joint and Several: All Owners executing this agreement are jointly and severally liable for the
             performance of all its terms. Any act or notice to, refund to, or signature of, any one or more of the
             Owners regarding any term of this agreement, its extension, its renewal, or its termination is binding
             on all Owners executing this agreement.
          E. Governing Law: Texas law governs the interpretation, validity, performance, and enforcement of this
             agreement.
          F. Severability: If a court finds any clause in this agreement invalid or unenforceable, the remainder of
             this agreement will not be affected and all other provisions of this agreement will remain valid and
             enforceable.
          G. Context: When the context requires, singular nouns and pronouns include the plural.
          H. Notices: Notices between the parties must be in writing and are effective when sent to the receiving
             party's address, fax, or e-mail address specified in Paragraph 1.
          I.   Copyright: If an active REALTOR® member of the Texas Association of REALTORS® does not
               negotiate this agreement as a party or for one of the parties, with or without the assistance of an active
               member of the State Bar of Texas, this agreement is voidable at will by Owner.
    23. INFORMATION:
          A. Broker's fees or the sharing of fees between brokers are not fixed, controlled, recommended,
             suggested, or maintained by the Association of REALTORS®, MLS, or any listing service.
          B. In accordance with fair housing laws and the National Association of REALTORS® Code of
             Ethics, Broker's services must be provided and the Property must be shown and made
             available to all persons without regard to race, color, religion, national origin, sex, disability,
             familial status, sexual orientation, or gender identity. Local ordinances may provide for


          C. OWner may review the inlormalion Broker                          •t;;•
             additional protected classes (for example, creed, status as a student, marital status, or age).
                                                                                            to an MLS otrer lisling service.

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         D. Broker advises Owner to remove or secure jewelry, prescription drugs, and other valuables.

         E. The Property Code requires the Property to be equipped with certain types of locks and
            security devices, including (with some exceptions): (1) window latches on each window; (2) a
            keyed doorknob lock or keyed deadbolt lock on each exterior door; (3) a sliding door pin lock
            on each exterior sliding glass door of the dwelling; (4) a sliding door handle latch or a sliding
            door security bar on each exterior sliding glass door of the dwelling; and (5) a keyless bolting
            device and a door viewer on each exterior door of the dwelling. The Property Code also
            requires smoke alarms in certain locations. The Property Code requires the security devices to
            be rekeyed and the smoke alarms to be tested each time a new tenant occupies the Property.

         F. Broker cannot give legal advice. READ THIS AGREEMENT CAREFULLY. If you do not
            understand the effect of this agreement, consult an attorney BEFORE signing.


    Blavesco . LTD                                                                   Beima Holdings , LLC
    Broker's Printed Name                        0443914 License No.

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                                                                Date                                                                  Date
    0   Broker's Associate's Signature, as an authorized agent of
        Broker

    Heather L Carlile                                                                Jeff Fisher
    Broker's Associate's Printed Name, if applicable                                 Owner's Printed Name



                                                                                     Owner's Signature                                Date




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                                         Property Management Agreement

            In consideration of the covenants contained herein:
             _______________________STAUNTON STREET PARTNERS, LLC________ as Owner and
            BLAVESCO, LTD as Agent or Manager agree as follows:

               1. The Owner hereby employs the Agent exclusively to manage the properties known as:
            STAUNTON STREET PARTNERS LLC (68)

            Upon the terms and conditions set forth hereinafter for the period commencing on the 10th day of
            July, 2013, and thereafter for periods of one year at a time.

            A. COMPENSATION Owner agrees to pay Agent each month for property management the
            amount of 5% of lease amount per month. All lease renewals will be charged at $150 per
            transaction. New leases will be charged at one (1) month lease amount.
            B. TERMINATION OF CONTRACT Either party may terminate this agreement by serving the
            other party a sixty (60) day written notice prior to the expiration date of this agreement or the
            expiration date of the most recent renewal if any.
            C. TERMINATION WITH LEASE STILL IN EFFECT Where there is a lease or leases still in
            effect at the date of termination of this agreement, the Owner agrees to pay the agent the monthly
            management fee for the unexpired term of the lease or leases.
                2. The Agent agrees:
                         A. To accept the management of the above described premises and agrees to furnish the
                             services of his organization for the operation and managing of said premises.
                         B. To investigate carefully the references of prospective tenants including performing a
                             credit check on each adult applicant before entering into any rental agreement with
                             said applicant if applicable per leasing agent.
                         C. To deposit all collections in an bank account, separate from the Agent’s other
                             personal or business bank accounts.
                         D. To render monthly statements of receipts, charges and expenses and to remit balance
                             of rents to the Owner, less Agent’s commission.
                         E. To earnestly obtain for the benefit of the Owner all discounts allowed on purchases
                             of supplies, materials or repairs.
                         F. To care for, place and supervise, subject to Owner’s instruction, all insurance
                             coverage.
                3. The Owner hereby agrees to give the Agent the following authority and powers:
                         A. To collect rents due or to become due and give receipts.
                         B. To hold the Agent harmless from all damage suits in connection with the
                             management of the property and from liability for injuries suffered by any employees
                             or other persons whomsoever, and to carry, at his or her own expense, public
                             liability insurance adequate to protect the interests of all parties hereto.

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                          C. Owner hereby grants Agent the authority to do whatever acts the Agent deems
                             proper and necessary to the effective management of the property. Owner gives the
                             Agent the right to institute repairs and maintenance to the property and pay for the
                             same out of owner’s funds. This agreement shall be binding upon the successors,
                             and assigns of the Owner.

            Additional Owner Instructions:
            _____________________________________________________________________________________
            _____________________________________________________________________________________
            _____________________________________________________________________________________
            _____________________________________________________________________________________
            THE UNDERSIGNED PARTIES ACKNOWLEDGE RECEIPT OF A COPY HEREOF.

            DATE: __July ___/____10_____/____2013___

            OWNER (s) _____________________________
            Jeff Fisher
                        
            Title: ___________________________________
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            ADDRESS______________________________
            PHONE________________________________
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            EMAIL_________________________________
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            DATE: __July____/_____10____/______2013__


            AGENT (s) _____________________________
            Heather Carlile
            Blavesco, LTD
            25511 Budde Road Ste 1801
            The Woodlands, TX 77380
            Direct: 832.850.4849
            Fax: 832.381.3768
            Email: heather@blavesco.com




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